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EXHIBIT B
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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
THE CONNECTORS REALTY )
GROUP CORPORATION and DARRYL _)
WILLIAMS, )
)
Plaintiffs, )
) No. = 19-cv-00743
Vv. )
) Honorable Charles P. Kocoras
STATE FARM FIRE & CASUALTY )
COMPANY, )
)
Defendant. )
)

PLAINTIFFS’ MOTION TO STRIKE DECLARATIONS FILED BY STATE FARM
Plaintiffs, THE CONNECTORS REALTY GROUP CORPORATION (“Connectors”)

and DARRYL WILLIAMS (“Darryl Williams”) (collectively “Plaintiffs”), by their attorney,
KENNETH ANSPACH, pursuant to Fed.R.Civ.P 56(c)(4), hereby move this Court to strike the
following declarations filed in support of State Farm’s Response to Plaintiff's Second Motion to
Compel (“State Farm’s Response”): (1) the Declaration of Gayle Hardison, attached to State
Farm’s Response as Exhibit 2, (2) the Declaration of Jeff Legner, attached to State Farm’s
Response as Exhibit 7, (3) the Declaration of Donald Vinciguerra, attached to State Farm’s
Response as Exhibit 9, (4) the Affidavit of Jim Larson, attached to State Farm’s Response as
Exhibit 10, (5) the Affidavit of Gail Carlson, attached to State Farm’s Response as Exhibit 11,
and (6) the Affidavit of Karen Terry, attached to State Farm’s Response as Exhibit 10, and in
support thereof state as follows:

I. Declaration of Gayle Hardison.

EXHIBIT B
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The requirements for affidavits being filed in opposition to motions are set forth in
Fed.R.Civ.P. 56(c)(4), which states as follows:

Affidavits or Declarations. An affidavit or declaration used to
support or oppose a motion must be made on personal knowledge,
set out facts that would be admissible in evidence, and show that
the affiant or declarant is competent to testify on the matters stated.

The Declaration of Gayle Hardison (the “Hardison Declaration’) fails to satisfy these
requirements. The Hardison Declaration, pars. 2 and 3, states that:

2. [have been employed by State Farm Fire and Casualty
Company (“State Farm”) for approximately 35 years. I currently
hold the position of Claim Team Manager at State Farm. I reside in
Newark, Delaware. As a Team Manager, I am responsible for 1st
line supervision of SIU employees including hiring, training,
coaching and performance management and salary
administration in a centralized or field environment.

3. [make the statements in this declaration based on my
review of State Farm’s claim records for the structural damage
claim submitted by The Connectors Realty Group Corporation
(“Connectors”) in January of 2017, which was assigned Claim
Number 13-0670-8L5, and State Farm’s claim records for the
additional claims relating to Connectors’ insured property at 622
W. 79th Street that Connectors submitted on February 6, 2017
(Claim No. 13-0790-6C6) and April 23, 2017 (Claim Nos. 13-
1390-881, 13-1390-8N9, 13-1390-8K9, and 13-1390-8F4). These
six claims are referred to in this declaration collectively as the
“Connectors Claims.”

The Hardison Declaration fails to comply with Fed.R.Civ.P. 56(c)(4) in the following respects:
(1) The Hardison Declaration is not made on “personal knowledge.” Instead, it is “based
on my review of State Farm’s claim records for the structural damage claim submitted by The
Connectors Realty Group Corporation (“Connectors”) in January of 2017, which was assigned
Claim Number 13-0670-8L5.” Moreover, while she states that “I currently hold the position of
Claim Team Manager at State Farm,” she does not say that she, herself, was assigned to this

claim file. She cannot have “personal knowledge” of a claim file to which she was never
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assigned. FRE Rule 602 states that “A witness may testify to a matter only if evidence is
introduced sufficient to support a finding that the witness has personal knowledge of the matter.”
Yet, by this witness’ own admission, she does not have personal knowledge of Claim 13-0670-
8L5. Affidavits that are not based upon personal knowledge may be disregarded. Packer v. Trs.
of Ind. Univ. Sch. of Med., 800 F.3d 843, 850 (7th Cir. 2015).

(2) The Hardison Declaration is not admissible as a “record of a regularly conducted
activity” pursuant to FRE 803(6). In order to qualify for this exception to the hearsay rule, the
subject records must be shown to be “kept in the course of a regularly conducted activity of the
business...by the testimony of the custodian or another qualified witness.” FRE 803(6)(D). Yet,
Ms. Hardison does not testify that she is the custodian of these records. Furthermore, she is not a
“qualified witness.” A “qualified witness” must “be familiar with the company's recordkeeping
practices." Thanongsinh v. Board of Educ., 462 F.3d 762, 777 (7th Cir. 2006), While Ms.
Hardison purports to testify to knowledge of State Farm’s recordkeeping practices pertaining to
Claim Number 13-0670-8L5, she does not establish that she has such knowledge. In this regard,
nothing in the statement of her duties for State Farm set forth in paragraph 2 of the Hardison
Declaration quoted above states that such duties have anything whatsoever to do with company
records. "Under Rule 56(e) [predecessor to Fed.R.Civ.P. 56(c)(4)], an affiant must be competent
to testify and must state specific facts that would be admissible in evidence and are based on the
affiant's personal knowledge." National Diamond Syndicate, Inc. v. United Parcel Service, Inc.,
897 F.2d 253, 260 (7th Cir. 1990). Nothing in the Hardison Declaration demonstrates her
competence to testify regarding State Farm’s records. There is no foundation for her testimony
regarding State Farm’s recordkeeping and the content of State Farm’s corporate records.

Thanongsinh v. Board of Educ., 462 F.3d at 779.
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(3) Moreover, Ms. Hardison’s discussion of the content of the records relating to Claim
Number 13-0670-8L5 is clearly inaccurate and demonstrates her lack of familiarity with State
Farm’s recordkeeping practices. For example, she states in paragraph 14, that there are
“no...references to [Section Manager Celeste Dodson] in the file for Claim Number 13-0670-
8L5 other than one email on which Ms. Dodson “is shown as a carbon copy recipient.” This
statement is wrong. Pages 2 and 3 of that very claim file, SFCONNECT000003PROD-
SFCONNECT000004PROD, copies of which are attached hereto as Exhibit A, show that the
entirety of the activities described in the claim file for Claim Number 13-0670-8L5 took place
within “SIU Proximity Dodson.” SIU Proximity Dodson was the Division of the Special
Investigations Unit (“SIU”) that Celeste Dodson oversaw as manager!!

(4) Since, as set forth in the Declaration of Carla Campbell-Jackson, Ph.D. (the
“Campbell-Jackson Declaration”), Ms. Dodson not only oversaw this file, but also managed the
“Fill the Cup(s)” process, any records sought in Plaintiffs’ Second Motion to Compel regarding
“Fill the Cup(s),” relate directly to Claim Number 13-0670-8L5. Of course, not only do such
records relate to Claim Number 13-0670-8L5, but they also relate to class certification because
“Fill the Cups” was the vehicle by which State Farm steered claims of African-American
policyholders to the SIU and denied them. It is important that these records be produced to
enable class certification, because State Farm apparently treated many other policyholders the
same way it treated Connectors and Darryl Williams.” Those policyholders deserve the same

opportunity for relief that this Court may afford Connectors and Darryl Williams.

 

' Declaration of Carla Campbell-Jackson, Ph.D., attached to Plaintiffs’ Second Motion to Compel as Ex. E, par. 7.
? Campbell-Jackson Declaration, par. 12; Declaration of Donald Vinciguerra, attached to State Farm’s Response as
Ex. 9, par. 10.
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(5) Finally, the Hardison Declaration, pars. 9-10, purports to testify to the date Claim
Representative Tina Beavers had her first conversation with Plaintiff, Darryl Williams. Yet, Ms.
Hardison admits at par. 4 that the materials proffered to the Court in support of that testimony are
not the entire claim record for Claim Number 13-0670-8L5, but are “materials attached to this
declaration [that] are contained in that claim record.” (Emphasis added.) In other words, these
materials are not the entire claim record. There may well be other materials that reflect
conversations omitted from the selected materials “contained in” the claim record that are
attached to the Hardison Declaration. In this same regard, the Hardison Declaration does not
state that the file notes in the claim file for Claim Number 13-0670-8L5 contains a record of each
and every conversation that took place between Tina Beavers and Darryl Williams or telephone
message left for Tina Beavers. That it does not is supported by State Farm’s Response to
Request for Production No. 26 (“Request No. 26”) in Defendant State Farm Fire and Casualty
Company’s Responses to Plaintiffs’ Request for Production, a copy of which is attached hereto
as Exhibit B. Request No. 26 of Plaintiffs’ Request for Production states, as follows:

26, Any and all documents, correspondence, emails, notes,

memoranda, telephone recordings and other recordings containing

or setting forth communications to or from any and all State Farm

employees, including but not limited to... Tina Beavers...

regarding State Farm Claim Nos. 13-0790-6C6, 13-1390-8K9, 13-

1390-8F4, 13-1390-8N9, 13-1390-8S1 and 13-0670-8L5.
State Farm’s Response to Request No. 26, while stating that State Farm is producing the Claim
File for Claim Number 13-0670-8L5 (among other claim files), also states that “State Farm will
also produce any additional, non-privileged communications of ... Tina Beavers regarding State
Farm Claim Nos.... 13-0670-8L5 that may be located by a reasonable search.” (Emphasis

added.) Thus, State Farm, itself, admits that there are “additional...communications of Tina

Beavers” beyond those in the claim file from which Ms. Hardison drew her conclusions. Those
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“additional...communications” are those that State Farm asserts that it has already produced
pursuant to a “reasonable search,” and, apparently, there remain others that would require an
some effort beyond what State Farm considers to be “reasonable” to ferret out. Regardless, by
State Farm’s admission, the Claim File for Claim Number 13-0670-8L5 plainly does not contain
all the records of communications between State Farm and Darryl Williams.

Il. Declaration of Jeff Legner.

The Declaration of Jeff Legner (the “Legner Declaration”) violates Fed.R.Civ.P. 56(c)(4),
in that it fails to “set out facts that would be admissible in evidence.” Specifically, the Legner
Declaration, par. 6, purports to make statements regarding the meaning of the term “Fill the
Cup.” Specifically, the Legner Declaration states:

[T]he term “Fill the Cup” was used by State Farm’s SIU...as it

moved from a geographic Zone-based claims handling model to an

Enterprise-based claims handling model, to describe a process for

ensuring capacity for potential fraud investigation was more fully

and consistently utilized and investigations were rationally

allocated with the new Enterprise SIU. In other words, the “Fill the

Cup” initiative concerned the allocation of STU/MCIU claims and

multi-claim investigations — which already had fraud indicators —

among the Enterprise SIU claim handling teams. The purpose of

“Fill the Cup” was not to increase the number of claims sent to

SIUs by encouraging front line claim representatives to submit

claims to SIU.
The Legner Declaration is apparently being submitted in contradistinction to the Campbell-
Jackson Declaration, which states that under the “Fill the Cups” process, front line claim
property damage and bodily injury claim representatives were encouraged to submit claims to

the SIU from African American and other minorities that were prejudged as non-meritorious and

often were denied.?

 

3 Campbell-Jackson Declaration, pars. 7 and 21.
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However, the Legner Declaration is inadmissible because it violates the best evidence
rule. Plaintiffs’ Second Request for Production, pars. 1 and 4, requests that State Farm produce
“documents relating to ‘Filling the Cup,’ ‘Fill the Cup,’ ‘Fill Cup’ or ‘Filled the Cup,’” as well
as “correspondence, emails and other documents from, or to, Jeffrey Legner...or on which [his]
name...appear[s], referring or relating to “Filling the Cup,” “Fill the Cup,” “Fill Cup” or “Filled
the Cup...” The Legner Declaration does not state that such documents do not exist. Instead,
the Legner Declaration attempts to substitute Mr. Legner’s opinion regarding what the “Fill the
Cup” initiative was, rather than provide the actual documents evidencing such “initiative.”
[P]roducing the best evidence'...refers to the rule that the terms of the document must be
proved by the production of the document itself." United States v. Rohalla, 369 F.2d 220, 223-
224 (7th Cir. 1966).

An excellent illustration of this rule as it applied in a case similar to that at bar was in
United States v. Wheeler, 219 F.2d 773 (7th Cir. 1955), a case that concerned the interstate
transportation of stolen vehicles. The court affirmed the District Court’s having allowed
testimony regarding the stolen vehicles, even though the car dealership’s inventory cards would
have provided the best evidence. The court noted that:

No demand or request was made for the production of the

inventory cards. Upon request the District Court would,

undoubtedly, have required their production.
United States v. Wheeler, 219 F.2d at 776. Here, Plaintiffs have requested the documents that
would provide the “best evidence,” and the Court should strike State Farm’s attempt to substitute

someone’s self-serving and biased opinion for the actual documentary evidence.

Il. Declaration of Donald Vinciguerra.
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The Declaration of Donald Vinciguerra (the ““Vinciguerra Declaration”) should be
stricken as violative of Fed.R.Civ.P. 56(c)(4) in that it fails to “show that the affiant or declarant
is competent to testify on the matters stated.” The Vinciguerra Declaration, par. 1, states that
Mr. Vinciguerra is “a Business Analyst in the Claims Analytics Department at State Farm
Mutual Automobile Insurance Company.” The Vinciguerra Declaration, par. 2, states that the
“Claims Analytics Department is responsible for claims ad hoc reporting,” but does not state
what Mr. Vinciguerra’s duties are as a Business Analyst and whether they include document
searches and retrieval. The Vinciguerra Declaration also does not state that his duties as a
“Business Analyst” relate in any way to the Defendant, State Farm Fire and Casualty Company
or to Plaintiffs and their claims. The Vinciguerra Declaration, pars. 4-7, discusses whether or not
State Farm Mutual Automobile Insurance Company has the ability to search for certain
documents requested in Plaintiffs’ Second Request for Production, pars. 15 and 16, requesting,
for all the State Farm companies, inter alia, “documents setting forth claims...sent to the
Special Investigations Unit for alleged fraud...that set forth whether the claim was paid, partially
paid or denied.” Again, there is no discussion of Mr. Vinciguerra’s competency to engage in an
assessment of State Farm’s ability to conduct such a search or to conduct such a search for all the
State Farm companies, including State Farm Fire and Casualty Company.

Finally, the Vinciguerra Declaration, par. 11, states how many “man-hours” would be
required to engage in such a search, without any foundation that Mr. Vinciguerra has the
competency to make such an assessment. "Under Rule 56(e), an affiant must be competent to
testify and must state specific facts that would be admissible in evidence and are based on the

affiant's personal knowledge." National Diamond Syndicate, Inc. v. United Parcel Service, Inc.,
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897 F.2d at 260. Nothing in the Vinciguerra Declaration demonstrates his competence to testify
to such matters. Without such a foundation, the Vinciguerra Declaration should be stricken.
IV. Affidavit of Jim Larson, Affidavit of Gail Carlson, and Affidavit of Karen Terry.

The Affidavits of Jim Larson, Gail Carlson and Karen Terry (collectively, the “Loss
Experience Affidavits”) are each subject to being stricken as violative of Fed.R.Civ.P. 56(c)(4).
First and most obviously, the Loss Experience Affidavits fail to “show that the affiant or
declarant is competent to testify on the matters stated.” These affidavits were made on
September 30, 2016, almost five and a half years ago. There is no indication that any of these
affiants is still alive, is still working for State Farm, is still of sound mind and body, and is still
available to testify.

Second, the Loss Experience Affidavits are violative of Fed.R.Civ.P. 56(c)(4) in that they
are replete with legal conclusions and, therefore, fail to “set out facts that would be admissible in
evidence.” Each of the Loss Experience Affidavits is apparently filed in response to Request for
Production No. 12 in Plaintiffs’ Second Request for Production, which requests:

12. All premium and loss data, categorized by zip code, for the

State of Illinois, for all homeowners lines reported by State Farm

to the Illinois Department of Insurance pursuant to 50 Ill. Adm.

Code Section 4203.30, including, but not limited to, a count of the

number of written exposures, paid losses and outstanding losses,

for reporting years 2012-2021.
The Loss Experience Affidavits also are apparently filed in response to Interrogatory No. 1 in
Plaintiffs’ Second Set of Interrogatories, which dovetails with Request for Production No. 3 and
states as follows:

Identify all persons having knowledge or information regarding the

generation and utilization of premium and loss data, categorized by

zip code, for the State of Illinois, for all homeowners lines reported

by State Farm to the Illinois Department of Insurance pursuant to
50 Ill. Adm. Code Section 4203.30.
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State Farm refused to respond to both Request for Production No. 12 and Interrogatory
No. 1. This Court in its October 19, 2019 Order at 15 found that allegations with respect to the
dismissed plaintiff, Antoine Nash, alleging that State Farm’s “policy of redlining insurance
claims from majority-black ZIP Codes on the South and West Sides of Chicago...results in State
Farm processing such claims as presumptively fraudulent and denying legitimate claims
[and]...is sufficient to satisfy the second and third prong” of the disparate impact test under the
Federal Housing Act (“FHA”), 42 U.S.C. Sec. 3604(a) and (b). The only aspect of the FHA
claim that the Court did not uphold was the “statistical disparity” prong, because Plaintiffs’ study
based upon publicly available information from the Illinois Department of Insurance related to
the insurance industry as a whole, rather than only to State Farm. This ruling by the Court shows
why these discovery requests are necessary. These requests seek the information that is
particular to the defendant company and can therefore satisfy the standard of specificity
referenced in the Court’s ruling.
50 Ill. Adm. Code Section 4203.20 sets forth the Purpose and Scope of this regulation as

follows:

The purpose of this Part is to establish...reporting requirements for

information required to be reported...pursuant to Section 1204(A)

through (D) of the Code. This Part also provides for the collection

of data required to implement Article XXXIII of the Code. ...
215 ILCS 5/1204(A) authorizes the Director of the Illinois Department of Insurance to “require
each insurer licensed to write property or casualty insurance in the State...to record and report its
loss and expense experience and other data as may be necessary to assess the relationship of

insurance premiums and related income as compared to insurance costs and expenses.” Article

XXXIII of the Ilinois Insurance Code, titled Urban Property Insurance, states at 215 ILCS 5/522

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that the purpose of this article, among other things, is "to deter the insurance industry from
geographically redlining urban areas of this State..."

The Loss Experience Affidavits seek to justify State Farm’s refusal to provide the
requested information on the purported basis that the loss and expense experience and other data
is purportedly secret, i.e., a “trade secret” within the meaning of the Illinois Trade Secrets Act,
765 ILCS 1065/2(d). See Affidavit of Jim Larson (“Larson Affidavit”), par. 3 and Affidavit of
Gail Carlson (“Carlson Affidavit”), par. 4. Yet, the assertion that State Farm’s loss and expense
experience and other data is a “trade secret” is a legal conclusion, and one that neither the Larson
Affidavit nor the Carlson Affidavit demonstrate that those affiants are qualified to make.
Whether something qualifies as a trade secret is an issue of law that a layman cannot establish by
testimony.

Moreover, State Farm’s loss and expense experience and other data is not a trade secret
as a matter of law. As the court said in Southwest Whey, Inc. v. Nutrition 101, Inc., 117
F.Supp.2d 770, 777 (C.D. Ili. 2000):

[Mlerely being the first or only one to use certain information does

not alone turn what is otherwise general knowledge into a trade

secret. Otherwise, no matter how ordinary or well known the

information, the first person to use it would be able to obtain the

protection of the statute. *** Additionally, "generalized

confidential business information" does not constitute a protectable

trade secret. See AMP Inc. v. Fleischhacker, 823 F.2d 1199, 1204

(7th Cir.1987). (Citation omitted.)
What the Larson and Carlson Affidavits term a “trade secret” is nothing more than the
paperwork of State Farm’s business. State Farm’s loss experience data are facts drawn from
information from its own policyholders. The marketing and pricing strategies described in the

Carlson Affidavit, par. 2 and the Affidavit of Karen Terry, par. 2, may be rooted in those facts,

but are not the facts themselves.

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Southwest Whey, Inc. y. Nutrition 101, Inc., 117 F.Supp.2d at 776 further stated that
“[t]he Court notes that the statutory protection afforded trade secrets reflects the balancing of
social and economic interests." Here, the social interest involved is gaining access to evidence
necessary for the Court to address and remedy statutorily recognized injury.

Finally, to the extent that State Farm believes that its loss experience data is protected, it
can still be made available to the Court in this case by use of a protective order under
Fed.R.Civ.P. 26(c). However, State Farm cannot prevent Plaintiffs from proving their case
merely by calling something a “secret” and treating it as such.

WHEREFORE, upon the above and foregoing, Plaintiffs hereby move this Court to strike
the following declarations filed in support of State Farm’s Response: (1) the Declaration of
Gayle Hardison, (2) the Declaration of Jeff Legner, (3) the Declaration of Donald Vinciguerra,
(4) the Affidavit of Jim Larson, (5) the Affidavit of Gail Carlson, and (6) the Affidavit of Karen
Terry.

Plaintiffs,
THE CONNECTORS REALTY GROUP

CORPORATION and DARRYL
WILLIAMS,

By: /s/ Kenneth Anspach
Their attorney

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EXHIBIT A
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RBZ00015
State Farm Fire and Casualty Compan
StateFarm ang Casualty Company
X Fire Claim File Print
. General Information
Route To:
| BASIC CLAIM INFORMATION
Clalm Number: 13-0670-8L5
Date of Loss: 01-09-2017
Polley Number: 93-GQ-Z610-7
Named Insured: THE CONNECTORS REALTY GROUP CORPORATION
| REPORTING INFORMATION
Functlon/Area/Environment
Determined By: LIT FAE: HCCS Stewardship
Recorded By
Name: Pamela Roberts (FEMS)
Phone: User Type: LIT
Reporting Agent
Name:
Agent Code: Phone:
Reporting Method
System: LIT Workflow: Regular
| FACTS OF LOSS
Date of Loss: 01-09-2017 Time of Loss:
Date Reported: 01-20-2017 Date/Time Recorded: 01-20-2017 - 05:40 PM CST
Facts of Loss: FINAL: WINDOW WAS LEFT OPEN AND PIPES BURST
Probable Cause: Water/Backup Sewer-D Stolen Property:
Severity: 2: Moderate Damage
Claim Group
Claim Group:
Location of Loss |
Location Description: 624 SIDE OF BUILDING
Street(s): 622-624 W 79th City; Chicago
County: State/Prov: Illinois
Zip/Postal; 60620-1809 Country: United States
| CLAIM DETAILS
Product Line: Fire Fatallty Exists: Liabtlity:
| Policy Type: Apartment Policy Record Only: AMRIISO: Yes
Clalm File Type: Regular SIU: Yes TIPP:
Confidential: Standard Reinsurance: Vehicle:
Facllity Code: 7 - In Office w/o Prox Assignment Large Loss: ARNR:
Date: 03-09-2020 Page 1
STATE FARM CONFIDENTIAL INFORMATION
Distr bution on a Business Need to Know Basis Only
SFCONNECT000002PROD

EXHIBIT “A”
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FIRE Claim Number: 13-0670-8L5 RBZOO0OI5
iS: Yes
Status Information
Claim Status: Reopened 02-13-2018 Reopen Reason:
|| Subrogation Status: Maintain Date:
Mattor Status: Open 03-20-2018
Salvage Status:
| Last Sent to ISO: 02-18-2019 Misc Stat:
| Current Event Information
Contacted By: Tricia Rembert (HYMG) Date: 01-25-2017
Appolntment By: Date: 02-03-2017
Inspected By: John C Millen (CXCP) Date: 06-29-2017
Reinspected By: Date:
| ADDITIONAL DETAILS
Companion Clalms \|
Claim Number Policy Numbe! Poltcy Type
I Police/Fire Report
Report Made: Department Reported:
Report Number: Date Reported: Time:
| Report Requested:
RELATED INFO
Fire Estimating
SFPS Onilne:

SFPSP invoice: Contents Inventory:

 

Replacement Services
SFRS Invoices:

 

 

 

 

 

 

CLAIM OWNER OFFICE
Name: SIU Proximity Office Zone: SIU Section Name: SIU Proximity Dodson
DAL Section
Virtual Level 1: SIU Proximity VL1 Virtual Level 2: SIU Proximity VL2
Address: PO Box 52257, Phoenix, AZ 850722257, USA Fax:
Claim Owner: Joe Fasone Unit: SIU Fire DAL Proximity Unit Go
Phone: (800) 331-1169 Team: SIU Fire DAL Proximity Team GO

 

 

 

 

 

 

 

Virtual Level 1: SIU Proximity VL1
Address: PO Box 52257, Phoenix, AZ 850722257, USA

| — CLAIM HANDLER OFFICE
Name: SIU Proximity Office Zone: SIU Sectlon Name: SIU Proximity Dodson |

DAL Section
Virtual Level 2: SIU Proximity VL2
Fax:

 

|] Claim Handler: Joe Fasone
Phone: (800) 331-1169

Unit:
Team:

SIU Fire DAL Proximity Unit Go
SIU Fire DAL Proxirnily Team GO

 

ParticlpantiGOL/Line: Named Insured(s) / 37/001

 

 

 

 

 

 

 

 

Date; 03-09-2020

STATE FARM CONFIDENTIAL INFORMATION
Distr bution on a Business Need to Know Basis Only

Page 2

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FIRE Claim Number: 13-0670-8L5 RBZ000165
= — —
- CLAIM HANDLER OFFICE
Name: SIU Proximity Office Zone: SIU Sectlon Name: SIU Proximity Dodson
DAL Section
| Virtual Level 1: SIU Proximity VL1 Virtual Level 2: SiU Proximity VL2
Address: PO Box 52257, Phoenix, AZ 850722257, USA Fax:
Clalm Handler: Joe Fasone Unit: SIU Fire DAL Proximity Unit Go
Phone: (800) 331-1169 Team: SIU Fire DAL Proximity Team GO
Participant/COL/LIne: Named Insured(s) / 67 /001

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ALERTS
| Description: heat maintained, policy inforce at DOL
Type: Coverage
Active Date: 01-23-2017 inactive Date:
Author; Pamela Roberts Last Modifled: Pamela Roberts
| PARTICIPANT DETAILS - Named Insured
Organization Information
Name: THE CONNECTORS REALTY GROUP CORPORATION Tax State: iL- 13
Out of Business: SSNITIN: XXXXX4943
Language of Cholce: English Sent to ISO: 02-18-2019
Rec Statement:
| Role Information (Particlpant from Policy)
Participant Type: Named Insured
Associated Particlpants
Assoclation to:
Is Associated To:
Participant Type/Role:
Other Clalm Rep: Loan #:
Other Clalm #: Reference #;
Other Policy #: Othor File #:
Comments: Phone Number:
Spouse:
Addltlonal Particlpant Information
Bankruptcy: Other Insurance:
Comments:
| Contact Info
Name: THE CONNECTORS REALTY GROUP CORPORATION Default: Yes
Name: THE CONNECTORS REALTY GROUP CORPORATION GROUP Default: No
CORPORATION
Attention: In Caro of:
Address: 332 S MICHIGAN AVE STE 1032, CHICAGO, IL, 60604-4366 |
| Status: Permanent Usage: Mailing Default: Yes
Type: United States Country: United States
Attention: In Care of:
Date: 03-09-2020 Page 3

STATE FARM CONFIDENTIAL INFORMATION
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SFCONNECT000004PROD

 
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EXHIBIT B
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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
THE CONNECTORS REALTY GROUP
CORPORATION and DARRYL WILLIAMS,
Plaintiffs,
vs. No. 19-cv-00743
STATE FARM FIRE & CASUALTY COMPANY, Honorable Charles P. Kocoras
Defendant.

 

DEFENDANT STATE FARM FIRE AND CASUALTY COMPANY’S
RESPONSES TO PLAINTIFFS’ REQUEST FOR PRODUCTION

Defendant State Farm Fire and Casualty Company (“State Farm”), by and through its
counsel and pursuant to Federal Rule of Civil Procedure 34, responds and objects to Plaintiffs’
Request for Production (the “Request”) as follows:

OBJECTIONS TO DEFINITIONS AND INSTRUCTIONS

1, State Farm objects to the Definition of “State Farm” to the extent it purports to
require State Farm to respond on behalf of persons or entities who are not parties to this action,
including without limitation affiliated companies, agents, assigns, consultants and vendors of
Defendant State Farm Fire and Casualty Company. Plaintiffs’ definition of “State Farm” is overly
broad, unduly burdensome, and improperly purports to impose obligations on State Farm beyond
those imposed by the Federal Rules of Civil Procedure. State Farm in responding to the Requests
interprets the term “State Farm” to mean only State Farm Fire and Casualty Company and its
employees.

2. State Farm objects to Instruction No. 1 regarding electronically stored information.
(“ESI”) to the extent it purports to impose obligations on State Farm beyond those permitted by

Fed. R. Civ, P. 26(b)(2)(B) and 34(b)(2)(D)-(E). In particular, State Farm objects to this Instruction

EXHIBIT B
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to the extent it purports to require State Farm to produce electronic documents in “Native” format.
Documents produced in their “Native” format are difficult to identify and track, and production of
documents in their “Native” format creates an unnecessary risk that the integrity and authenticity
of the documents will be compromised. In addition, in some instances TIFF or searchable PDF are
the formats in which responsive documents are used and stored in the ordinary course of State
Farm’s business. State Farm will accordingly produce responsive ESI, to the extent feasible, in
either TIFF or searchable PDF format. State Farm will produce documents that cannot reasonably
be produced as PDFs or TIFF images—such as Excel spreadsheets and PowerPoint files that
cannot be converted to images without degrading their usability—in their “Native” format. In
addition, State Farm objects to the Instruction that produced ESI “should include metadata” on the
ground that it is overly broad and would require the production of information that is not relevant
to any party’s claims or defenses. In addition, State Farm objects to producing “all metadata” for
every produced document because producing metadata for a document that has been redacted for
privilege may inadvertently disclose privileged information. State Farm will request a meet and
confer to establish an agreed set of metadata fields that will be provided.

3. State Farm objects to each Request to the extent it purports to require disclosure of
information protected by the attorney-client privilege, the work product doctrine, and/or any other
applicable privilege. See Fed. R. Civ. P. 26(b)(5)(A). Any inadvertent disclosure of information
protected by any privilege shall not constitute a waiver of that privilege. See Fed. R. Civ. P.
26(b)(5)(B). State Farm will provide a privilege log identifying documents withheld on the basis
of attorney-client privilege, the work product doctrine, or any other applicable privilege that pre-

date the filing of Plaintiffs’ original complaint herein on February 5, 2019. State Farm objects to
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any purported requirement that it log privileged or work-product documents created on or after
February 5, 2019 on the ground that any such requirement would be unduly burdensome.

4. None of the objections or responses contained herein is an admission concerning
the existence of any documents or materials, the relevance or admissibility of any documents,
materials or information, or the truth or accuracy of any statement or characterization contained in
Plaintiffs’ Request. State Farm's answers and responses do not waive, and instead expressly
reserve, the right to object on proper grounds to the use at trial of any produced materials, the right
to object to other discovery requests, and the right at any time to revise, correct, add or clarify any
of the responses provided herein. State Farm’s investigation is ongoing.

OBJECTIONS AND RESPONSES TO REQUESTS

li All documents set forth in Section II of Defendant State Farm Fire and Casualty
Company’s Rule 26(a)(1) Disclosures, to wit:

a. [Connectors’] State Farm Policy No. 93-GQ-Z610-7.

b. State Farm claim files for claim nos. 13-0790-6C6, 13-1390-8K9, 13-1390-
8F4, 13-1390-8N9, 13-1390-8S1 and 13-0670-8L5.

c. Underwriting documents for [Connectors’] State Farm Policy No. 93-GQ-
Z610-7,

d. State Farm Operations Guides and claims procedures for property damage
claims,

e. Documents relating to the purchase and alleged sale of the Premises in April
2016 and September 2017.

f. Documents relating to the occupancy of the Premises from April 2016 to
September 2017.

g. Documents relating to [Connectors’] application for and purchase of the

State Farm Policy insuring the Premises.

h, Documents relating to the condition of the Premises at the time of
[Connectors’] application for and purchase of the State Farm Policy
insuring the Premises.
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i, Documents relating to City of Chicago v. The Connectors Realty Group
Corporation, et al., docketed in the Circuit Court of Cook County, Illinois
{as] Case No, 2017 M1-400127,

j. Documents relating to City ef Chicago v. The Connectors Realty Group
Corporation, et al., docketed in the City of Chicago, Department of
Administrative Hearing as Case No. 16BT05507A.

k. Documents relating to City of Chicago v. The Connectors Realty Group
Corporation, et al., docketed in the City of Chicago, Department of
Administrative Hearing as Case No. 17BT00771A.

I. Documents relating to the alleged $86,155.00 damage and loss to the
Premises asserted in claim no. 13-0670-8L5.

m, Documents relating to the alleged $46,200.00 loss of rental income from the
Premises asserted in claim no. 13-0670-8L5.

m[sic]. Documents relating to the alleged $60,000 damage and loss to the Premises
asserted in claim no. 13-1390-881.

n. Documents relating to the alleged $116,955.00 damage and loss to the
Premises asserted in claim no, 13-1390-8N9.

0. Documents relating to the alleged $120,000.00 damage and loss to the
Premises asserted in claim no. 13-0790-6C6.

p. Documents relating to the alleged $48,500.00 damage and loss to the
Premises asserted in claim no. 1301390-8K9 [sic].

q. Documents relating to the alleged $17,500.00 damage and loss to the
Premises asserted in claim no, [13-1390-8F4.].

RESPONSE: Subject to and without waiving its Objections to Definitions and
Instructions, State Farm responds to Request No. 1 by sub-part as follows:
a. State Farm will produce a bates numbered, certified copy of Connectors’ State Farm
Policy No. 93-GQ-Z610-7, which is attached to State Farm’s Amended Answer,
Affirmative Defenses and Counterclaim as Exhibit 1 (Dkt. 73-1).
b. The claim files for Claim Nos. 13-0790-6C6, 13-1390-8K9, 13-1390-8F4, 13-
1390-8N9, 13-1390-8S1 and 13-0670-8L5 have been produced as

SFCONNECT000001PROD-SFCONNECTPROD001815PROD.
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C. State Farm will produce the underwriting file for State Farm Policy No. 93-GQ-
Z610-7.
d. State Farm objects to this Request on that grounds that it is overly broad in both

time and scope, unduly burdensome, seeks documents that are not relevant to the
claim or defense of any party, and is not proportional to the needs of the case. State
Farm further objects to this Request to the extent it seeks documents that contain
confidential, highly sensitive business and/or trade secret information of State
Farm, Subject to and without waiving its objections, State Farm will produce the
following non-confidential Operation Guides and other documents in effect at the
time of Connectors’ claimed losses:

i. Our Commitment to Policyholders;

il, OG 70-75: Special Investigation Unit;

iii. OG 75-01: First-party Claim Handling;

iv. OG 75-07: Structural Loss Claim Handling;

Vv. OG 75-51: Replacement Cost — Building;

vi. OG 75-99: Claim Interpretations — CMP 4100, Condominium
Unitowners Policy, and Coverage D- Loss Assessment;

vii. OG 75-100: Claim Interpretations — First Party

viii. OG-75-110: Fungus, Mold and Mildew
State Farm will also produce relevant portions of its Standard Claims Process
guides (“SCPs”) and Jurisdictional References (“JRs”) in effect at the time of
Connectors’ claimed losses after, and subject to, entry of an appropriate

confidentiality protective order.
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e. State Farm objects to this Request on the ground that documents relating to the
purchase and alleged sale of the Premises in April 2016 and September 2017, to the
extent they exist, are in the possession, custody or control of Connectors.

f, State Farm objects to this Request on the ground that documents relating to the
occupancy of the Premises from April 2016 to September 2017, to the extent they
exist, are in the possession, custody or control of Connectors. Subject to and
without waiving its objections, State Farm directs Plaintiffs to the claim files
produced as SFCONNECT000001PROD-SFCONNECTPROD001815PROD.

g. State Farm will produce any nonprivileged documents in its possession, custody or
control that are responsive to this Request.

h. State Farm will produce any nonprivileged documents in its possession, custody or
control that are responsive to this Request.

i, State Farm objects to this Request on the ground that documents relating to City of
Chicago v. The Connectors Realty Group Corporation, et al., docketed in the
Circuit Court of Cook County, Illinois as Case No. 2017 M1-400127, are in the
possession, custody or control of Connectors (as a party to that action). Subject to
and without waiving its objections, State Farm will produce any nonprivileged
documents in its possession, custody or control that are responsive to this Request.

j. State Farm objects to this Request on the ground that documents relating to City of
Chicago v. The Connectors Realty Group Corporation, et al., docketed in the City
of Chicago, Department of Administrative Hearing as Case No. 16BT05507A, are
in the possession, custody or control of Connectors (as a party to that action).

Subject to and without waiving its objections, State Farm will produce any
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nonprivileged documents in its possession, custody or control that are responsive
to this Request.

k. State Farm objects to this Request on the ground that documents relating to City of
Chicago v. The Connectors Realty Group Corporation, et al., docketed in the City
of Chicago, Department of Administrative Hearing as Case No. 17BT00771A, are
in the possession, custody or control of Connectors (as a party to that action).
Subject to and without waiving its objections, State Farm will produce any
nonprivileged documents in its possession, custody or control that are responsive
to this Request.

1, Nonprivileged documents in State Farm’s possession, custody or control relating to
the alleged $86,155.00 damage and loss to the Premises asserted in claim no. 13-
0670-8L5 are included in the claim file for the claim, which has been produced as
SFCONNECT000001PROD-SFCONNECTPROD000725PROD. State Farm will
also produce any additional, responsive, nonprivileged documents in its possession,
custody or control that can be located through a reasonable search.

m. Nonprivileged documents in State Farm’s possession, custody or control relating to
the alleged $46,200.00 loss of rental income from the Premises asserted in claim
no. 13-0670-8L5 are included in the claim file for that claim, which has been
produced as SFCONNECT000001PROD-SFCONNECTPROD000725PROD.
State Farm will also produce a declaration that it obtained from Lynnette Crawley,
who Connectors has claimed was a tenant of the Premises on the date of loss, and
any additional, responsive, nonprivileged documents in its possession, custody or

contro] that can be located through a reasonable search.
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Case: 1:19-cv-00743 Document #: 144-2 Filed: 03/14/22 Page 9 of 53 PagelD #:2423

m.[sic] Nonprivileged documents in State Farm’s possession, custody or control relating to
the alleged $60,000.00 damage and loss to the Premises asserted in claim no. 13-
1390-881 are included in the claim file for that claim, which has been produced as
SFCONNECT001562PROD-SFCONNECTPROD001815PROD. State Farm will
also produce any additional, responsive, nonprivileged documents in its possession,
custody or control that can be located through a reasonable search.

n. Nonprivileged documents in State Farm’s possession, custody or control relating to
the alleged $116,955.00 damage and loss to the Premises asserted in claim no. 13-
1390-8N9 are included in the claim file for that claim, which has been produced as
SFCONNECT001378PROD-SFCONNECTPROD001561PROD. State Farm will
also produce any additional, responsive, nonprivileged documents in its possession,
custody or control that can be located through a reasonable search,

0. Nonprivileged documents in State Farm’s possession, custody or control relating to
the alleged $120,00.00 damage and loss to the Premises asserted in claim no. 13-
0790-6C6 are included in the claim file for that claim, which has been produced as
SFCONNECT000726PROD-SFCONNECTPROD001003PROD. State Farm will
also produce any additional, responsive, nonprivileged documents in its possession,
custody or control that can be located through a reasonable search.

p. Nonprivileged documents in State Farm’s possession, custody or control relating to
the alleged $48,500.00 damage and loss to the Premises asserted in claim no. 13-
1390-8K91 are included in the claim file for that claim, which has been produced

as SFCONNECT001189PROD-SFCONNECTPROD001377PROD. State Farm
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will also produce any additional, responsive, nonprivileged documents in its
possession, custody or control that can be located through a reasonable search.

q. Nonprivileged documents in State Farm’s possession, custody or control relating to
the alleged $17,500.00 damage and loss to the Premises asserted in claim no. 13-
1390-8F4 are included in the claim file for that claim, which has been produced as
SFCONNECT001004PROD-SFCONNECTPROD001188PROD. State Farm will
also produce any additional, responsive, nonprivileged documents in its possession,
custody or control that can be located through a reasonable search.

2. All data maintained by State Farm regarding loss experience on its first party
property insurance, including but not limited to its homeowners lines, small

business insurance and apartment policies, organized by ZIP Code for the City of
Chicago, Illinois, and for the State of Illinois.

RESPONSE: In addition to its Objections to Definitions and Instructions, State Farm
objects to Request No. 2 on the grounds that it is overly broad in both time and scope, unduly
burdensome, seeks documents that are not relevant to the claim or defense of any party, and is not
proportional to the needs of the case. State Farm further objects to this Request to the extent it
seeks discovery concerning claims of putative members of the proposed, uncertified class, on the
ground that such discovery is premature, and objects that this Request seeks the production of

confidential business information and/or trade secrets of State Farm.

3. All premium and loss data, categorized by zip code, for the State of Illinois, for all
homeowners lines reported by State Farm to the Illinois Department of Insurance
pursuant to 50 Ill. Adm. Code Section 4203.30, including, but not limited to, a count
of the number of written exposures, paid losses and outstanding losses, for reporting
years 2012-2020,

RESPONSE: In addition to its Objections to Definitions and Instructions, State Farm

objects to Request No. 3 on the grounds that it is overly broad in both time and scope, unduly
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burdensome, seeks documents that are not relevant to the claim or defense of any party, and is not
proportional to the needs of the case. State Farm further objects to this Request to the extent it
seeks discovery concerning claims of putative members of the proposed, uncertified class, on the
ground that such discovery is premature, and objects that this Request seeks the production of

confidential business information and/or trade secrets of State Farm.

4, All premium and loss data, categorized by zip code, for the City of Chicago in the State
of Illinois, for all homeowners lines reported by State Farm to the Illinois Department
of Insurance pursuant to 50 II. Adm, Code Section 4203.30, including, but not limited
to, a count of the number of written exposures, paid losses and outstanding losses, for
reporting years 2012-2020.

RESPONSE: In addition to its Objections to Definitions and Instructions, State Farm
objects to Request No. 4 on the grounds that it is overly broad in both time and scope, unduly
burdensome, seeks documents that are not relevant to the claim or defense of any party, and is not
proportional to the needs of the case. State Farm further objects to this Request to the extent it
seeks discovery concerning claims of putative members of the proposed, uncertified class, on the

ground that such discovery is premature, and objects that this Request seeks the production of

confidential business information and/or trade secrets of State Farm.

5, Any and all documents setting forth algorithmic procedures, commonly known as
actuarial risk assessment instruments or predictive analytic tools, that are utilized in
connection with claims on home and property insurance issued by State Farm,
including but not limited to Homeowners Insurance, Condo Unit owners Insurance,
Renters Insurance and Rental Property Insurance, and on Small Business Insurance
and Business Owners Policies issued by State Farm.

RESPONSE: In addition to its Objections to Definitions and Instructions, State Farm
objects to Request No. 5 on the grounds that it is overly broad in both time and scope, unduly

burdensome, seeks documents that are not relevant to the claim or defense of any party, and is not

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proportional to the needs of the case. State Farm further objects to this Request to the extent it
seeks discovery concerning claims of putative members of the proposed, uncertified class, on the
ground that such discovery is premature, and objects that this Request seeks the production of

confidential business information and/or trade secrets of State Farm.

6. Any and all databases or aggregations of data used in connection with algorithmic
procedures, commonly known as actuarial risk assessment instruments or
predictive analytic tools, that are utilized in connection with claims on home and
property insurance issued by State Farm, including but not limited to Homeowners
Insurance, Condo Unit owners Insurance, Renters Insurance and Rental Property
Insurance, and on Small Business Insurance and Business Owners Policies issued
by State Farm,

RESPONSE: In addition to its Objections to Definitions and Instructions, State Farm
objects to Request No. 6 on the grounds that it is overly broad in both time and scope, unduly
burdensome, seeks documents that are not relevant to the claim or defense of any party, and is not
proportional to the needs of the case. State Farm further objects to this Request to the extent it
seeks discovery concerning claims of putative members of the proposed, uncertified class, on the

ground that such discovery is premature, and objects that this Request seeks the production of

confidential business information and/or trade secrets of State Farm.

Te Any and all documents setting forth data regarding loss experience on home and
property insurance issued by State Farm, including but not limited to Homeowners
Insurance, Condo Uni towners Insurance, Renters Insurance and Rental Property
Insurance, and Small Business Insurance and on Business Owners Policies issued

by State Farm, organized by ZIP Code for the City of Chicago, Illinois.
RESPONSE: In addition to its Objections to Definitions and Instructions, State Farm
objects to Request No. 7 on the grounds that it is overly broad in both time and scope, unduly

burdensome, seeks documents that are not relevant to the claim or defense of any party, and is not

proportional to the needs of the case. State Farm further objects to this Request to the extent it

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seeks discovery concerning claims of putative members of the proposed, uncertified class, on the
ground that such discovery is premature. State Farm further objects to this Request on the grounds
that it purports to require State Farm to produce documents “organized” in a manner other than the
way they are kept by State Farm in the ordinary course of business, and that it seeks the production

of confidential business information and/or trade secrets of State Farm.

8. Any and all documents setting forth data regarding loss experience on home and
property insurance issued by State Farm, including but not limited to Homeowners
Insurance, Condo Unit owners Insurance, Renters Insurance and Rental Property
Insurance, and on Small Business Insurance and Business Owners Policies issued
by State Farm, organized by ZIP Code for the City of Chicago, Illinois, that
correlate that data to payment of any and all claims.

RESPONSE: In addition to its Objections to Definitions and Instructions, State Farm
objects to Request No. 8 on the grounds that it is overly broad in both time and scope, unduly
burdensome, seeks documents that are not relevant to the claim or defense of any party, and is not
proportional to the needs of the case. State Farm further objects to this Request to the extent it
seeks discovery concerning claims of putative members of the proposed, uncertified class, on the
ground that such discovery is premature, and objects that this Request seeks the production of

confidential business information and/or trade secrets of State Farm.

9. Any and all documents setting forth the number of claims on home and property
insurance issued by State Farm, including but not limited to Homeowners Insurance,
Condo Unit owners Insurance, Renters Insurance and Rental Property Insurance, and
on Small Business Insurance and Business Owners Policies issued by State Farm, sent
to the Special Investigations Unit for alleged fraud organized by ZIP Code for the City
of Chicago, Illinois.

RESPONSE: In addition to its Objections to Definitions and Instructions, State Farm
objects to Request No. 9 on the grounds that it is overly broad in both time and scope, unduly

burdensome, seeks documents that are not relevant to the claim or defense of any party, and is not

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proportional to the needs of the case. State Farm further objects to this Request to the extent it
seeks discovery concerning claims of putative members of the proposed, uncertified class, on the
ground that such discovery is premature. State Farm further objects to this Request on the grounds
that it purports to require State Farm to produce documents “organized” in a manner other than the
way they are kept by State Farm in the ordinary course of business, and that it seeks the production

of confidential business information and/or trade secrets of State Farm.

10. Any and all documents setting forth the number of claims on home and property
insurance issued by State Farm, including but not limited to Homeowners Insurance,
Condo Unit owners Insurance, Renters Insurance and Rental Property Insurance, and
on Small Business Insurance and Business Owners Policies issued by State Farm, sent
to the Special Investigations Unit for alleged fraud organized by ZIP Code for the City
of Chicago, Ilinois, which were denied.

RESPONSE: In addition to its Objections to Definitions and Instructions, State Farm
objects to Request No. 10 on the grounds that it is overly broad in both time and scope, unduly
burdensome, seeks documents that are not relevant to the claim or defense of any party, and is not
proportional to the needs of the case. State Farm further objects to this Request to the extent it
seeks discovery concerning claims of putative members of the proposed, uncertified class, on the
ground that such discovery is premature. State Farm further objects to this Request on the grounds
that it purports to require State Farm to produce documents “organized” in a manner other than the

way they are kept by State Farm in the ordinary course of business, and that it seeks the production

of confidential business information and/or trade secrets of State Farm.

11, Any and all documents setting forth the number of claims on home and property
insurance issued by State Farm, including but not limited to Homeowners Insurance,
Condo Unit owners Insurance, Renters Insurance and Rental Property Insurance, and
on Small Business Insurance and Business Owners Policies issued by State Farm, sent
to the Special Investigations Unit for alleged fraud organized by ZIP Code for the City
of Chicago, Illinois, which were paid.

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RESPONSE: In addition to its Objections to Definitions and Instructions, State Farm
objects to Request No. 11 on the grounds that it is overly broad in both time and scope, unduly
burdensome, seeks documents that are not relevant to the claim or defense of any party, and is not
proportional to the needs of the case. State Farm further objects to this Request to the extent it
seeks discovery concerning claims of putative members of the proposed, uncertified class, on the
ground that such discovery is premature, State Farm further objects to this Request on the grounds
that it purports to require State Farm to produce documents “organized” in a manner other than the
way they are kept by State Farm in the ordinary course of business, and that it seeks the production

of confidential business information and/or trade secrets of State Farm.

12. Any and all documents setting forth the number of claims on home and property
insurance issued by State Farm, including but not limited to Homeowners
Insurance, Condo Unit owners Insurance, Renters Insurance and Rental Property
Insurance, and on Small Business Insurance and Business Owners Policies issued
by State Farm, setting forth the National Insurance Crime Bureau Indicators for
Fraud sent to the Special Investigations Unit for alleged fraud organized by ZIP
Code for the City of Chicago, Illinois.

RESPONSE: In addition to its Objections to Definitions and Instructions, State Farm
objects to Request No. 12 on the grounds that it is overly broad in both time and scope, unduly
burdensome, seeks documents that are not relevant to the claim or defense of any party, and is not
proportional to the needs of the case. State Farm further objects to this Request to the extent it
seeks discovery concerning claims of putative members of the proposed, uncertified class, on the
ground that such discovery is premature. State Farm further objects to this Request on the grounds
that it purports to require State Farm to produce documents “organized” in a manner other than the
way they are kept by State Farm in the ordinary course of business, and that it seeks the production

of confidential business information and/or trade secrets of State Farm.

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13. Any and all documents setting forth the number of claims on home and property
insurance issued by State Farm, including but not limited to Homeowners
Insurance, Condo Unit owners Insurance, Renters Insurance and Rental Property
Insurance, and on Small Business Insurance and Business Owners Policies issued
by State Farm, setting forth the National Association of Insurance Commissioners
Indicators for Fraud not sent to the Special Investigations Unit for alleged fraud
organized by ZIP Code for the City of Chicago, Illinois.

RESPONSE: In addition to its Objections to Definitions and Instructions, State Farm
objects to Request No. 13 on the grounds that it is overly broad in both time and scope, unduly
burdensome, seeks documents that are not relevant to the claim or defense of any party, and is not
proportional to the needs of the case. State Farm further objects to this Request to the extent it
seeks discovery concerning claims of putative members of the proposed, uncertified class, on the
ground that such discovery is premature. State Farm further objects to this Request on the grounds
that it purports to require State Farm to produce documents “organized” in a manner other than the
way they are kept by State Farm in the ordinary course of business, and that it seeks the production

of confidential business information and/or trade secrets of State Farm.

14, Any and all documents setting forth data regarding loss experience on home and
property insurance issued by State Farm, including but not limited to Homeowners
Insurance, Condo Unit owners Insurance, Renters Insurance and Rental Property
Insurance, and on Small Business Insurance and Business Owners Policies issued
by State Farm, organized by race for the City of Chicago, Illinois.

RESPONSE: In addition to its Objections to Definitions and Instructions, State Farm
objects to Request No. 14 on the grounds that it is overly broad in both time and scope, unduly
burdensome, seeks documents that are not relevant to the claim or defense of any party, and is not
proportional to the needs of the case, State Farm further objects to this Request to the extent it
seeks discovery concerning claims of putative members of the proposed, uncertified class, on the

ground that such discovery is premature. State Farm further objects to this Request on the grounds

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that it seeks the production of confidential business information and/or trade secrets of State Farm,

and that State Farm does not track or organize loss experience by race.

15. Any and all documents setting forth data regarding loss experience on home and
property insurance issued by State Farm, including but not limited to Homeowners
Insurance, Condo Unit owners Insurance, Renters Insurance and Rental Property
Insurance, and on Small Business Insurance and Business Owners Policies issued
by State Farm, organized by race for the City of Chicago, Illinois that correlate that
data to payment of any and all claims.

RESPONSE: Jn addition to its Objections to Definitions and Instructions, State Farm
objects to Request No. 15 on the grounds that it is overly broad in both time and scope, unduly
burdensome, seeks documents that are not relevant to the claim or defense of any party, and is not
proportional to the needs of the case. State Farm further objects to this Request to the extent it
seeks discovery concerning claims of putative members of the proposed, uncertified class, on the
ground that such discovery is premature. State Farm further objects to this Request on the grounds
that it seeks the production of confidential business information and/or trade secrets of State F arm,

and that State Farm does not track or organize loss experience by race.

16. Any and all documents setting forth the number of claims on home and property
insurance issued by State Farm, including but not limited to Homeowners
Insurance, Condo Unit owners Insurance, Renters Insurance and Rental Property
Insurance, and on Small Business Insurance and Business Owners Policies issued
by State Farm, sent to the Special Investigations Unit for alleged fraud organized

by race for the City of Chicago, Illinois.
RESPONSE: In addition to its Objections to Definitions and Instructions, State Farm
objects to Request No. 16 on the grounds that it is overly broad in both time and scope, unduly
burdensome, seeks documents that are not relevant to the claim or defense of any party, and is not

proportional to the needs of the case. State Farm further objects to this Request to the extent it

seeks discovery concerning claims of putative members of the proposed, uncertified class, on the

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ground that such discovery is premature. State Farm further objects to this Request on the grounds
that it seeks the production of confidential business information and/or trade secrets of State Farm,

and that State Farm does not track or organize loss experience by race.

17, Any and all documents setting forth the number of claims on home and property
insurance issued by State Farm, including but not limited to Homeowners Insurance,
Condo Unit owners Insurance, Renters Insurance and Rental Property Insurance, and
on Small Business Insurance and Business Owners Policies issued by State Farm, sent
to the Special Investigations Unit for alleged fraud organized by race for the City of
Chicago, Illinois, which were denied.

RESPONSE: In addition to its Objections to Definitions and Instructions, State Farm
objects to Request No. 17 on the grounds that it is overly broad in both time and scope, unduly
burdensome, seeks documents that are not relevant to the claim or defense of any party, and is not
proportional to the needs of the case. State Farm further objects to this Request to the extent it
seeks discovery concerning claims of putative members of the proposed, uncertified class, on the
ground that such discovery is premature. State Farm further objects to this Request on the grounds
that it seeks the production of confidential business information and/or trade secrets of State Farm,

and that State Farm does not track or organize loss experience by race.

18. Any and all documents setting forth the number of claims on home and property
insurance issued by State Farm, including but not limited to Homeowners Insurance,
Condo Unit owners Insurance, Renters Insurance and Rental Property Insurance, and
on Small Business Insurance and Business Owners Policies issued by State Farm, sent
to the Special Investigations Unit for alleged fraud organized by race for the City of
Chicago, Illinois, which were paid.

RESPONSE: In addition to its Objections to Definitions and Instructions, State Farm
objects to Request No. 18 on the grounds that it is overly broad in both time and scope, unduly
burdensome, seeks documents that are not relevant to the claim or defense of any party, and is not

proportional to the needs of the case. State Farm further objects to this Request to the extent it

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seeks discovery concerning claims of putative members of the proposed, uncertified class, on the
ground that such discovery is premature, State Farm further objects to this Request on the grounds
that it seeks the production of confidential business information and/or trade secrets of State Farm,

and that State Farm does not track or organize loss experience by race.

19. Any and all documents setting forth the number of claims on home and property
insurance issued by State Farm, including but not limited to Homeowners Insurance,
Condo Unit owners Insurance, Renters Insurance and Rental Property Insurance, and
on Small Business Insurance and Business Owners Policies issued by State Farm, for
which the National Association of Insurance Commissioners Indicators for Fraud were
utilized as a purported basis for sending the claims to the Special Investigations Unit
for alleged fraud organized by race for the City of Chicago, Illinois.

RESPONSE: In addition to its Objections to Definitions and Instructions, State Farm
objects to Request No. 19 on the grounds that it is overly broad in both time and scope, unduly
burdensome, seeks documents that are not relevant to the claim or defense of any party, and is not
proportional to the needs of the case, State Farm further objects to this Request to the extent it
seeks discovery concerning claims of putative members of the proposed, uncertified class, on the
ground that such discovery is premature. State Farm further objects to this Request on the grounds
that it seeks the production of confidential business information and/or trade secrets of State Farm,

and that State Farm does not track or organize loss experience by race.

20. Any and all documents setting forth the number of claims on home and property
insurance issued by State Farm, including but not limited to Homeowners
Insurance, Condo Unit owners Insurance, Renters Insurance and Rental Property
Insurance, and on Small Business Insurance and Business Owners Policies issued
by State Farm, for which the National Association of Insurance Commissioners
Indicators for Fraud were utilized as a purported basis for not sending the claims to
the Special Investigations Unit for alleged fraud organized by race for the City of
Chicago, Illinois.

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RESPONSE: In addition to its Objections to Definitions and Instructions, State Farm
objects to Request No. 20 on the grounds that it is overly broad in both time and scope, unduly
burdensome, seeks documents that are not relevant to the claim or defense of any party, and is not
proportional to the needs of the case. State Farm further objects to this Request to the extent it
seeks discovery concerning claims of putative members of the proposed, uncertified class, on the
ground that such discovery is premature. State Farm further objects to this Request on the grounds
that it seeks the production of confidential business information and/or trade secrets of State Farm,

that State Farm does not track or organize loss experience by race, and that it is incomprehensible.

21. For claims made on home and property insurance issued by State Farm, including
but not limited to Homeowners Insurance, Condo Unit owners Insurance, Renters
Insurance and Rental Property Insurance, and on Small Business Insurance and
Business Owners Policies issued by State Farm, any and all documents setting forth
any numeric or categorical value reflecting an assessment of whether such claims
are fraudulent.

RESPONSE: In addition to its Objections to Definitions and Instructions, State Farm
objects to Request No. 21 on the grounds that it is overly broad in both time and scope, unduly
burdensome, seeks documents that are not relevant to the claim or defense of any party, and is not
proportional to the needs of the case. State Farm further objects to this Request to the extent it
seeks discovery concerning claims of putative members of the proposed, uncertified class, on the
ground that such discovery is premature. State Farm further objects to Request No. 21 on the
ground that the request for documents “setting forth any numeric or categorical value reflecting an
assessment of which such claims are fraudulent” is vague, ambiguous, and incomprehensible, and
that it appears to seek the production of confidential business information and/or trade secrets of

State Farm.

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22. For State Farm Claim Nos. 13-0790-6C6, 13-1390-8K9, 13-1390-8F4, 13-1390-
8N9, 13-1390-881 and 13-0670-8L5 any and all documents setting forth any
numeric or categorical value reflecting an assessment of whether such claims are
fraudulent.

RESPONSE: In addition to its Objections to Definitions and Instructions, State Farm
objects to Request No, 22 on the ground that the request for documents “setting forth any numeric
or categorical value reflecting an assessment of which such claims are fraudulent” is vague,
ambiguous, and incomprehensible. Subject to and without waiving these objections, State Farm
directs Plaintiffs to the claim files for Claim Nos. 13-0790-6C6, 13-1390-8K9, 13-1390-8F4, 13-
1390-8N9, —:13-1390-8S1_ and —_—‘13-0670-8L5, which have been produced as

SFCONNECT000001PROD-SFCONNECTPROD001815PROD.

23. Any and all documents relating to any and all actions brought against State Farm
under 215 ILCS 5/424(3) for “Making or permitting, in the case of insurance of
the types enumerated in Classes 1, 2, and 3 of Section 4, any unfair
discrimination between individuals or risks of the same class or of essentially
the same hazard and expense element because of the race [or] color,... of such
insurance risks or applicants.”

RESPONSE: In addition to its Objections to Definitions and Instructions, State Farm
objects to Request No. 23 on the grounds that it is overly broad in both time and scope, unduly
burdensome, seeks documents that are not relevant to the claim or defense of any party, and is not
proportional to the needs of the case. State Farm further objects to this Request to the extent it
seeks discovery concerning claims of putative members of the proposed, uncertified class, on the
ground that such discovery is premature, and on the ground that it purports to require the
production of documents that are protected by the attorney-client privilege and/or the work product

doctrine,

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24, — Any and all documents relating to racial discrimination in the issuance of insurance
by State Farm.

RESPONSE: In addition to its Objections to Definitions and Instructions, State Farm
objects to Request No. 24 on the grounds that it is overly broad in both time and scope, unduly
burdensome, seeks documents that are not relevant to the claim or defense of any party as
Connectors has not alleged any racial discrimination in the issuance of its State Farm Policy, and
is not proportional to the needs of the case. State Farm further objects to this Request to the extent
it seeks discovery concerning claims of putative members of the proposed, uncertified class, on

the ground that such discovery is premature.

25, Any and all documents relating to racial discrimination in the payment of claims
by State Farm.

RESPONSE: In addition to its Objections to Definitions and Instructions, State Farm
objects to Request No. 25 on the grounds that it is overly broad in both time and scope, unduly
burdensome, seeks documents that are not relevant to the claim or defense of any party, and is not
proportional to the needs of the case. State Farm further objects to this Request to the extent it
seeks discovery concerning claims of putative members of the proposed, uncertified class, on the
ground that such discovery is premature. Subject to and without waiving these objections, State
Farm has produced the claim files relating to the property damage claims made by Connectors,
which include nonprivileged documents in State Farm’s possession, custody or control relating to
State Farm’s handling of Connectors’ claims. State Farm will also produce any additional,
nonprivileged documents in its possession, custody or control relating to the handling of

Connectors’ claims that can be located through a reasonable search.

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26. Any and all documents, correspondence, emails, notes, memoranda, telephone
recordings and other recordings containing or setting forth communications to or
from any and all State Farm employees, including but not limited to, Thomas
Wegner, Joe Fasone, Tina Beavers, John C. Millen, Cyndi Carrington, Kil Ye
Winans, Ken Treadway, Roger Krupp, Nabad Gavi, Price Shoemaker, Brian
Rafalski, Beth Pallissard, Kenn Shreckengost, Chad Pratley, Kim Swigart-Hicks,
Vick Derrick, Kevin L. Poster, Duncan Kelsey, Tricia Rembert, Jeff Gaffney,
Lorraine T. Dukelow, Briana Barradas, Jose M. Rodriguez, Andy Jun, Amir
Ghasemi, Erica Voigt, Gayle Hardison, Parfait Nayigihugu, Bartell Williams,
Kerrie Anderson, Darryl Henry, Maureen Doheny, Carrie F. Turner, Tracy
Jenkins, Nancy Clayton, Elisa Johnston, Andrea Wills, Doug Overstreet, Justin
Tritch, Buffie Marshall, Mike Lester, Janice Hayes, Veronica Hernandez, Carlos
Diaz, Kerrie Anderson and Pamela Roberts, regarding State Farm Claim Nos.
13-0790-6C6, 13-1390-8K9, 13-1390-8F4, 13-1390-8N9, 13-1390-8S1 and 13-
0670-8LS5.

RESPONSE: In addition to its Objections to Definitions and Instructions, State Farm
objects to Request No. 26 on the grounds that its request for a// documents containing or setting
forth communications to or from almost fifty State Farm employees or former employees regarding
Connectors’ property damage claims is overly broad, unduly burdensome, and not proportional to
the needs of the case. Subject to and without waiving these objections, State Farm directs Plaintiffs
to the claim files for State Farm State Farm Claim Nos. 13-0790-6C6, 13-1390-8K9, 13-1390-
8F4, 13-1390-8N9, 13-1390-8S1 and 13-0670-8L5 that have already been produced as
SFCONNECT000001PROD-SFCONNECTPROD001815PROD. State Farm will also produce
any additional, non-privileged communications of Thomas Wegner, Tina Beavers, Roger Krupp,
Kim Swigart-Hicks and/or Tricia Rembert regarding State Farm Claim Nos. 13-0790-6C6, 13-
1390-8K9, 13-1390-8F4, 13-1390-8N9, 13-1390-8S1 and 13-0670-8L5 that may be located by

a reasonable search.

27, Any and all documents related to the education, training, development and
operational responsibilities of Thomas Wegner, Joe Fasone, Tina Beavers, John C.
Millen, Cyndi Carrington, Kil Ye Winans, Ken Treadway, Roger Krupp, Nabad
Gavi, Price Shoemaker, Brian Rafalski, Beth Pallissard, Kenn Shreckengost, Chad
Pratley, Kim Swigart-Hicks, Vick Derrick, Kevin L. Poster, Duncan Kelsey, Tricia

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Rembert, Jeff Gaffney, Lorraine T. Dukelow, Briana Barradas, Jose M. Rodriguez,
Andy Jun, Amir Ghasemi, Parfait Nayigihugu, Bartell Williams, Kerrie Anderson ,
Darryl Henry Maureen Doheny, Carrie F, Turner, Tracy Jenkins, Nancy Clayton,
Elisa Johnston, Andrea Wills, Doug Overstreet, Justin Tritch, Buffie Marshall,
Mike Lester, Janice Hayes, Veronica Hernandez, Carlos Diaz Veronica Hernandez,
Carlos Diaz [sic], Kerrie Anderson and Pamela Roberts, and any and all documents
setting forth their contact information, and/or referencing their employment
positions and duties during the period January 1, 2017 to the present.

RESPONSE: In addition to its Objections to Definitions and Instructions, State Farm
objects to Request No. 27 on the grounds that it its request for all documents relating to “the
education, training, development and operational responsibilities” of almost fifty State Farm
employees or former employees, and its request for al] documents “setting forth their contact
information, and/or referencing their employment positions and duties during the period from
January 1, 2017 to the present” is overly broad, unduly burdensome, seeks documents that are not
relevant to the claim or defense of any party, and is not proportional to the needs of the case. State
Farm further objects to Request No. 27 on the ground that it seeks confidential, private and
personal information of the identified employees, and that it seeks the production of confidential
business information and/or trade secrets of State Farm. Subject to and without waiving these
objections, State Farm responds that after, and subject to, the entry of an appropriate confidential ity
protective order, State Farm will produce documents sufficient to identify any training related to
structural loss claim handling received from State Farm by the following individuals prior to
January 1, 2017:

Thomas Wegner

Tina Beavers

Roger Krupp

Kim Swigart-Hicks

Tricia Rembert

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28. Any and all documents, correspondence, emails, notes, memoranda, telephone
recordings and other recordings containing or setting forth communications
regarding State Farm Claim Nos. 13-0790-6C6, 13-1390-8K9, 13-1390-8F4, 13-
1390-8N9, 13-1390-8S1 and 13-0670-8L5.

RESPONSE: Subject to and without waiving its Objections to Definitions and
Instructions, State Farm directs Plaintiffs to the claim files for Claim Nos. 13-0790-6C6, 13-1390-
8K9, 13-1390-8F4, 13-1390-8N9, 13-1390-8S1 and 13-0670-8L5, which have been produced as
SFCONNECT000001PROD-SFCONNECTPROD001815PROD, and any additional responsive

documents that may be produced in response to Request No. 26.

29, Any and all claims policies, guidelines, requirements, procedures and manuals
governing the handling of State Farm Claim Nos. 13-0790-6C6, 13-1390-8K9,
13-1390-8F4, 13-1390-8N9, 13-1390-8S1 and 13-0670-8L5, including, but not
limited to the following: (1) property and casualty claims policies and procedures
applicable to the Special Investigations Unit, (2) property and casualty claims
policies and procedures applicable to claim committee reports and procedures, (3)
policies and procedures applicable to outstanding and unpaid claims, (4) policies
and procedures applicable to loss payment.

RESPONSE: In addition to its Objections to Definitions and Instructions, State Farm
objects to Request No. 29 on the grounds that its request for “[a]ny and all claims policies,
guidelines, requirements, procedures and manuals” relating to policies and procedures applicable
to the Special Investigations Unit, claim committee reports and procedures, outstanding and unpaid
claims, and “loss payment” is overly broad, unduly burdensome, seeks documents not relevant to
the claim or defense of any party, and is not proportional to the needs of the case, State Farm
further objects that this Request seeks the production of confidential business information and/or
trade secrets of State Farm, Subject to and without waiving these objections, State Farm will

produce the non-confidential Operation Guides identified in its Response to Request No. 1.d., and

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will produce relevant portions of the confidential SCPs and JRs identified in that response after,

and subject to, the entry of an appropriate confidentiality protective order.

30. Any and all claim committee reports relating to State Farm Claim Nos. 13 -0790-
6C6, 13-1390-8K9, 13-1390-8F4, 13-1390-8N9, 13-1390-8S1 and 13-0670-8L5.

RESPONSE: In addition to its Objections to Definitions and Instructions, State Farm
objects to Request No. 30 on the ground that it seeks documents that are not relevant to the claim
or defense of any party. Subject to and without waiving these objections, State Farm has no

documents responsive to this Request.

31. Any and all inspection reports of Premises including, but not limited to, that
referenced at entry dated 7-18-2017 by Roger Krupp on the document produced by
State Farm bearing Bates No. SFCONNECT000042PROD, and that referenced at
entry dated 7 -62017 by John Millen on the document produced by State Farm
bearing Bates No, SFCONNECT000042PROD, and that referenced as an
SIU/MCIU Report and Investigation at the entry dated 5-23-2017 by Thomas
Wegner on the document produced by State Farm bearing Bates No.
SFCONNECT000044PROD.

RESPONSE: Subject to and without waiving its Objections to Definitions and
Instructions, State Farm directs Plaintiffs to the claim files that have been produced as

SFCONNECT000001 PROD-SFCONNECTPROD001815PROD.

32. All estimates of loss and damage for State Farm Claim Nos. 13-0790-6C6, 13-
1390-8K9, 13-1390-8F4, 13-1390-8N9, 13-1390-8S1 and 13-0670-8L5.

RESPONSE: Subject to and without waiving its Objections to Definitions and
Instructions, State Farm directs Plaintiffs to the claim files that have been produced as

SFCONNECT000001PROD-SFCONNECTPROD001815PROD.

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33. Any and all documents, correspondence, emails, notes, memoranda and recordings
containing or setting forth communications to or from Larry Williams, Agent,
regarding Connectors’ application for and purchase of Connectors’ State Farm
Policy No. 93-GQ-Z610-7, the condition of the Premises at the time of the
application, and/or State Farm Claim Nos. 13-0790-6C6, 13-1390-8K9, 13-1390-
8F4, 13-1390-8N9, 13-1390-8S1 and 13-0670-8L5.

RESPONSE: Subject to and without waiving its Objections to Definitions and

Instructions, State Farm responds that it will produce the underwriting file for State Farm Policy
No. 93-GQ-Z610-7, and further directs Plaintiffs to the claim files that have been produced in

SFCONNECT000001PROD-SFCONNECTPROD001815PROD.

34, Any and all documents, correspondence, emails, notes, memoranda and recordings
containing or setting forth communications to or from any tenant or former tenant
at the Premises, including but not limited to Martina Brown, Dominique Jones,
Lynette Crawley Michael Muench and Jesse Torres, regarding or relating to State
Farm Claim Nos. 13-07906C6, 13-1390-8K9, 13-1390-8F4, 13-1390-8N9, 13-
1390-881 and 13-0670-8L5.

RESPONSE: In addition to its Objections to Definitions and Instructions, State Farm
objects to Request No. 34 to the extent it seeks the production of documents that are protected by
the attorney work-product doctrine. Subject to and without waiving these objections, State Farm

will produce the signed declaration of Lynette Crawley.

35. Any and all documents concerning the training of employees of State Farm
concerning the handling and treatment of fraudulent claims.

RESPONSE: In addition to its Objections to Definitions and Instructions, State Farm
objects to Request No. 35 on the grounds that it is overly broad in both time and scope, unduly
burdensome, seeks documents that are not relevant to the claim or defense of any party, and is not
proportional to the needs of the case. State Farm further objects to this Request to the extent it

seeks discovery concerning claims of putative members of the proposed, uncertified class, on the

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ground that such discovery is premature, and objects that this Request seeks the production of
confidential business information and/or trade secrets of State Farm. Subject to and without
waiving these objections, State Farm will produce documents sufficient to identify any training
concerning the handling of fraudulent structural loss property damage claims that Tina Beavers,

Tricia Rembert, Roger Krupp and/or Thomas Wegner received from State Farm in 2016 and 2017.

36. Any and all policy manuals concerning the handling and treatment of fraudulent
claims.

RESPONSE: In addition to its Objections to Definitions and Instructions, State Farm
objects to Request No. 36 on the grounds that it is overly broad in both time and scope, unduly
burdensome, seeks documents that are not relevant to the claim or defense of any party, and is not
proportional to the needs of the case. State Farm further objects to this Request to the extent it
seeks discovery concerning claims of putative members of the proposed, uncertified class, on the
ground that such discovery is premature, and objects that this Request seeks the production of
confidential business information and/or trade secrets of State Farm. Subject to and without
waiving these objections, State Farm will produce its non-confidential Operation Guide 70-75:
Special Investigation Unit in effect at the time of Connectors’ claimed losses and will produce
relevant portions of its confidential Special Investigation Unit Standard Claim Process guide in
effect at the time of Connectors’ claimed losses after, and subject to, the entry of an appropriate

confidentiality protective order.

37. Any and all documents concerning the training of employees of State Farm
concerning the handling and treatment of claims made on home and property
insurance issued by State Farm, including but not limited to Homeowners Insurance,
Condo Unit owners Insurance, Renters Insurance and Rental Property Insurance, and
on Small Business Insurance and Business Owners Policies issued by State Farm.

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Case: 1:19-cv-00743 Document #: 146-2 Filed: 03/17/22 Page 46 of 70 PagelD #:2522
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RESPONSE; In addition to its Objections to Definitions and Instructions, State Farm
objects to Request No. 37 on the grounds that it is overly broad in both time and scope, unduly
burdensome, seeks documents that are not relevant to the claim or defense of any party, and is not
proportional to the needs of the case. State Farm further objects to this Request to the extent it
seeks discovery concerning claims of putative members of the proposed, uncertified class, on the
ground that such discovery is premature, and objects that this Request seeks the production of
confidential business information and/or trade secrets of State Farm. Subject to and without
waiving these objections, State Farm will produce the documents identified in its Response to

Request No. 27.

38. Any and all policy manuals concerning the handling and treatment of claims made on
home and property insurance issued by State Farm, including but not limited to
Homeowners Insurance, Condo Unit owners Insurance, Renters Insurance and Rental
Property Insurance, and on Small Business Insurance and Business Owners Policies
issued by State Farm.

RESPONSE: In addition to its Objections to Definitions and Instructions, State Farm objects
to Request No. 38 on the grounds that it is overly broad in both time and scope, unduly
burdensome, seeks documents that are not relevant to the claim or defense of any party, and is not
proportional to the needs of the case. State Farm further objects to this Request to the extent it
seeks discovery concerning claims of putative members of the proposed, uncertified class, on the
ground that such discovery is premature, and objects that this Request seeks the production of
confidential business information and/or trade secrets of State Farm. Subject to and without
waiving these objections, State Farm will produce the non-confidential Operation Guides
identified in its Response to Request No. 1.d., and will produce relevant portions of the confidential
SCPs and JRs identified in that response after, and subject to, the entry of an appropriate

confidentiality protective order.

28
Case: 1:19-cv-00743 Document #: 146-2 Filed: 03/17/22 Page 47 of 70 PagelD #:2523
Case: 1:19-cv-00743 Document #: 144-2 Filed: 03/14/22 Page 30 of 53 PagelD #:2444

39, Any and all documents relating to the origin, establishment, purpose and intention
of the Special Investigations Unit (“SIU”).

RESPONSE: In addition to its Objections to Definitions and Instructions, State Farm
objects to Request No. 39 on the grounds that it is overly broad in both time and scope, unduly
burdensome, seeks documents that are not relevant to the claim or defense of any party, and is
not proportional to the needs of the case. State Farm further objects to this Request to the extent
it seeks discovery concerning claims of putative members of the proposed, uncertified class, on
the ground that such discovery is premature, and objects that this Request seeks the production of

confidential business information and/or trade secrets of State Farm.

40. Any and all documents setting forth criteria for the referral of claims to the SIU,

RESPONSE: In addition to its Objections to Definitions and Instructions, State Farm
objects to Request No. 40 on the grounds that it is overly broad in both time and scope, unduly
burdensome, seeks documents that are not relevant to the claim or defense of any party, and is not
proportional to the needs of the case. State Farm further objects to this Request to the extent it
seeks discovery concerning claims of putative members of the proposed, uncertified class, on the
ground that such discovery is premature, and objects that this Request seeks the production of
confidential business information and/or trade secrets of State Farm. Subject to and without
waiving these objections, State Farm will produce its Operation Guide 70-75: Special Investigation

Unit.

41. Any and all documents relating to the origin, establishment, purpose and intention
of the SIU Proximity Office, the name of which is identified on the document
produced by State Farm bearing Bates No. SFCONNECT000003PROD.

29
Case: 1:19-cv-00743 Document #: 146-2 Filed: 03/17/22 Page 48 of 70 PagelD #:2524
Case: 1:19-cv-00743 Document #: 144-2 Filed: 03/14/22 Page 31 of 53 PagelD #:2445

RESPONSE: In addition to its Objections to Definitions and Instructions, State Farm
objects to Request No. 41 on the grounds that it is overly broad in both time and scope, unduly
burdensome, seeks documents that are not relevant to the claim or defense of any party, and is not
proportional to the needs of the case. State Farm further objects that this Request seeks the

production of confidential business information and/or trade secrets of State Farm.

42. Any and all documents setting forth criteria for the referral of claims to the SIU
Proximity Office, the name of which is identified on the document produced by
State Farm bearing Bates No. SFCONNECT000003PROD.

RESPONSE: In addition to its Objections to Definitions and Instructions, State Farm
objects to Request No. 42 on the grounds that it is overly broad in both time and scope, unduly
burdensome, seeks documents that are not relevant to the claim or defense of any party, and is not
proportional to the needs of the case. State Farm further objects that this Request seeks the
production of confidential business information and/or trade secrets of State Farm. Subject to and
without waiving these objections, State Farm will produce the document(s] identified in its

Response to Request No. 40.

43. Any and all documents relating to the origin, establishment, purpose and intention
of the SIU Proximity Dodson DAL Section, the name of which is identified on the
document produced by State Farm bearing Bates No. SEFCONNECT000003PROD.

RESPONSE: In addition to its Objections to Definitions and Instructions, State Farm
objects to Request No. 43 on the grounds that it is overly broad in both time and scope, unduly
burdensome, seeks documents that are not relevant to the claim or defense of any party, and is not
proportional to the needs of the case. State Farm further objects that this Request seeks the

production of confidential business information and/or trade secrets of State Farm.

30
Case: 1:19-cv-00743 Document #: 146-2 Filed: 03/17/22 Page 49 of 70 PagelD #:2525
Case: 1:19-cv-00743 Document #: 144-2 Filed: 03/14/22 Page 32 of 53 PagelD #:2446

44, _—_ Any and all documents setting forth criteria for the referral of claims to the SIU
Proximity Dodson DAL Section, the name of which is identified on the document
produced by State Farm bearing Bates No. SFCONNECT000003PROD.

RESPONSE: In addition to its Objections to Definitions and Instructions, State Farm
objects to Request No. 44 on the grounds that it is overly broad in both time and scope, unduly
burdensome, seeks documents that are not relevant to the claim or defense of any party, and is not
proportional to the needs of the case. State Farm further objects that this Request seeks the

production of confidential business information and/or trade secrets of State Farm.

45. Any and all documents relating to the origin, establishment, purpose and intention
of the SIU Proximity VL1, the name of which is identified on the document
produced by State Farm bearing Bates No. SFCONNECT000003PROD.

RESPONSE: In addition to its Objections to Definitions and Instructions, State Farm
objects to Request No. 45 on the grounds that it is overly broad in both time and scope, unduly
burdensome, seeks documents that are not relevant to the claim or defense of any party, and is not
proportional to the needs of the case. State Farm further objects that this Request seeks the

production of confidential business information and/or trade secrets of State Farm.

46. Any and all documents setting forth criteria for the referral of claims to the SIU
Proximity VL1, the name of which is identified on the document produced by State
Farm bearing Bates No. SFCONNECT000003PROD.

RESPONSE: In addition to its Objections to Definitions and Instructions, State Farm
objects to Request No. 46 on the grounds that it is overly broad in both time and scope, unduly
burdensome, seeks documents that are not relevant to the claim or defense of any party, and is not
proportional to the needs of the case. State Farm further objects that this Request seeks the

production of confidential business information and/or trade secrets of State Farm.

31
Case: 1:19-cv-00743 Document #: 146-2 Filed: 03/17/22 Page 50 of 70 PagelD #:2526
Case: 1:19-cv-00743 Document #: 144-2 Filed: 03/14/22 Page 33 of 53 PagelD #:2447

47, Any and all documents relating to the origin, establishment, purpose and intention
of the SIU Proximity VL2, the name of which is identified on the document
produced by State Farm bearing Bates No, SFCONNECT000003PROD.

RESPONSE: In addition to its Objections to Definitions and Instructions, State Farm
objects to Request No. 47 on the grounds that it is overly broad in both time and scope, unduly
burdensome, seeks documents that are not relevant to the claim or defense of any party, and is not
proportional to the needs of the case. State Farm further objects that this Request seeks the

production of confidential business information and/or trade secrets of State Farm.

48. Any and all documents setting forth criteria for the referral of claims to the SIU
Proximity VL2, the name of which is identified on the document produced by State
Farm bearing Bates No. SFCONNECT000003PROD.

RESPONSE: In addition to its Objections to Definitions and Instructions, State Farm
objects to Request No. 48 on the grounds that it is overly broad in both time and scope, unduly
burdensome, seeks documents that are not relevant to the claim or defense of any party, and is not
proportional to the needs of the case. State Farm further objects that this Request seeks the

production of confidential business information and/or trade secrets of State Farm.

49. Any and all documents relating to the origin, establishment, purpose and intention
of the SIU Fire DAL Proximity Unit GO, the name of which is identified on the
document produced by State Farm bearing Bates No. SECONNECT000003PROD,

RESPONSE: In addition to its Objections to Definitions and Instructions, State Farm
objects to Request No. 49 on the grounds that it is overly broad in both time and scope, unduly
burdensome, seeks documents that are not relevant to the claim or defense of any party, and is not
proportional to the needs of the case. State Farm further objects that this Request seeks the

production of confidential business information and/or trade secrets of State Farm.

32
Case: 1:19-cv-00743 Document #: 146-2 Filed: 03/17/22 Page 51 of 70 PagelD #:2527
Case: 1:19-cv-00743 Document #: 144-2 Filed: 03/14/22 Page 34 of 53 PagelD #:2448

50. Any and all documents setting forth criteria for the referral of claims to the SIU
Fire DAL Proximity Unit GO, the name of which is identified on the document
produced by State Farm bearing Bates No. SFCONNECT000003PROD.

RESPONSE: In addition to its Objections to Definitions and Instructions, State Farm
objects to Request No. 50 on the grounds that it is overly broad in both time and scope, unduly
burdensome, seeks documents that are not relevant to the claim or defense of any party, and is not
proportional to the needs of the case. State Farm further objects that this Request seeks the

production of confidential business information and/or trade secrets of State Farm.

51. Any and all documents relating to the origin, establishment, purpose and intention
of the SIU Fire DAL Proximity Team GO, the name of which is identified on the
document produced by State Farm bearing Bates No. SFCONNECT000003PROD.

RESPONSE: In addition to its Objections to Definitions and Instructions, State Farm
objects to Request No. 51 on the grounds that it is overly broad in both time and scope, unduly
burdensome, seeks documents that are not relevant to the claim or defense of any party, and is not
proportional to the needs of the case. State Farm further objects that this Request seeks the

production of confidential business information and/or trade secrets of State Farm.

52. Any and all documents setting forth criteria for the referral of claims to the SIU
Fire DAL Proximity Team GO, the name of which is identified on the document
produced by State Farm bearing Bates No. SEFCONNECT000003PROD.

RESPONSE: In addition to its Objections to Definitions and Instructions, State Farm
objects to Request No. 52 on the grounds that it is overly broad in both time and scope, unduly
burdensome, seeks documents that are not relevant to the claim or defense of any party, and is not
proportional to the needs of the case. State Farm further objects that this Request seeks the

production of confidential business information and/or trade secrets of State Farm.

33
Case: 1:19-cv-00743 Document #: 146-2 Filed: 03/17/22 Page 52 of 70 PagelD #:2528
Case: 1:19-cv-00743 Document #: 144-2 Filed: 03/14/22 Page 35 of 53 PagelD #:2449

53. Any and all documents relating to the origin, establishment, purpose and intention
of the SIU Fire CA Team, the name of which is identified on the document
produced by State Farm bearing Bates No. SFCONNECT000011PROD.

RESPONSE: In addition to its Objections to Definitions and Instructions, State Farm
objects to Request No. 53 on the grounds that it is overly broad in both time and scope, unduly
burdensome, seeks documents that are not relevant to the claim or defense of any party, and is not
proportional to the needs of the case. State Farm further objects that this Request seeks the

production of confidential business information and/or trade secrets of State Farm.

54. Any and all documents setting forth criteria for the referral of claims to SIU Fire
CA Team, the name of which is identified on the document produced by State Farm
bearing Bates No. SFCONNECT000011PROD.

RESPONSE: In addition to its Objections to Definitions and Instructions, State Farm
objects to Request No, 54 on the grounds that it is overly broad in both time and scope, unduly
burdensome, seeks documents that are not relevant to the claim or defense of any party, and is not
proportional to the needs of the cases. State Farm further objects that this Request seeks the

production of confidential business information and/or trade secrets of State Farm.

55. Any and all documents relating to the origin, establishment, purpose and intention
of the SIUKALF, the name of which is identified on the document produced by
State Farm bearing Bates No. SFCONNECT000032PROD.

RESPONSE: In addition to its Objections to Definitions and Instructions, State Farm
objects to Request No. 55 on the grounds that it is overly broad in both time and scope, unduly
burdensome, seeks documents that are not relevant to the claim or defense of any party, and is not
proportional to the needs of the case. State Farm further objects that this Request seeks the

production of confidential business information and/or trade secrets of State Farm.

34
Case: 1:19-cv-00743 Document #: 146-2 Filed: 03/17/22 Page 53 of 70 PagelD #:2529
Case: 1:19-cv-00743 Document #: 144-2 Filed: 03/14/22 Page 36 of 53 PagelD #:2450

56. Any and all documents setting forth criteria for the referral of claims to SIUKALF,

the name of which is identified on the document produced by State Farm bearing
Bates No. SEFCONNECT000032PROD.

RESPONSE: In addition to its Objections to Definitions and Instructions, State Farm
objects to Request No. 56 on the grounds that it is overly broad in both time and scope, unduly
burdensome, seeks documents that are not relevant to the claim or defense of any party, and is not
proportional to the needs of the case. State Farm further objects that this Request seeks the

production of confidential business information and/or trade secrets of State Farm.

57. Any and all documents relating to the origin, establishment, purpose and intention
of the SIU Fire Prox 67, the name of which is identified on the document produced
by State Farm bearing Bates No. SFCONNECT000097PROD-
SFCONNECT000098PROD and SFCONNECT000104PROD.

RESPONSE: In addition to its Objections to Definitions and Instructions, State Farm
objects to Request No. 57 on the grounds that it is overly broad in both time and scope, unduly
burdensome, seeks documents that are not relevant to the claim or defense of any party, and is not
proportional to the needs of the case. State Farm further objects that this Request seeks the

production of confidential business information and/or trade secrets of State Farm.

58. Any and all documents setting forth criteria for the referral of claims to the SIU
Fire Prox 67, the name of which is identified on the document produced by State
Farm bearing Bates No. SFCONNECT000097PROD-SFCONNECT000098PROD
and SFCONNECT000104PROD.

RESPONSE: In addition to its Objections to Definitions and Instructions, State Farm
objects to Request No. 58 on the grounds that it is overly broad in both time and scope, unduly
burdensome, seeks documents that are not relevant to the claim or defense of any party, and is not
proportional to the needs of the case, State Farm further objects that this Request seeks the

production of confidential business information and/or trade secrets of State Farm.

35
Case: 1:19-cv-00743 Document #: 146-2 Filed: 03/17/22 Page 54 of 70 PagelD #:2530
Case: 1:19-cv-00743 Document #: 144-2 Filed: 03/14/22 Page 37 of 53 PagelD #:2451

59. Any and all documents relating to the origin, establishment, purpose and intention
of the SIUPROJ, the name of which is identified on the document produced by
State Farm bearing Bates No. SFCONNECT0000772PROD.

RESPONSE: In addition to its Objections to Definitions and Instructions, State Farm
objects to Request No. 59 on the grounds that it is overly broad in both time and scope, unduly
burdensome, seeks documents that are not relevant to the claim or defense of any party, and is not
proportional to the needs of the case. State Farm further objects that this Request seeks the

production of confidential business information and/or trade secrets of State Farm.

60. Any and all documents setting forth criteria for the referral of claims to the
SIUPROJ, the name of which is identified on the document produced by State Farm
bearing Bates No. SFCONNECT0000772PROD.

RESPONSE: In addition to its Objections to Definitions and Instructions, State Farm
objects to Request No. 60 on the grounds that it is overly broad in both time and scope, unduly
burdensome, seeks documents that are not relevant to the claim or defense of any party, and is not
proportional to the needs of the case. State Farm further objects that this Request seeks the

production of confidential business information and/or trade secrets of State Farm.

61. Any and all documents relating to the origin, establishment, purpose and intention
of the SIU/MCIU Fire F, the name of which is identified on the document produced
by State Farm bearing Bates No. SECONNECT0000793PROD.

RESPONSE: In addition to its Objections to Definitions and Instructions, State Farm
objects to Request No. 61 on the grounds that it is overly broad in both time and scope, unduly
burdensome, seeks documents that are not relevant to the claim or defense of any party, and is not
proportional to the needs of the case. State Farm further objects that this Request seeks the

production of confidential business information and/or trade secrets of State Farm.

36
Case: 1:19-cv-00743 Document #: 146-2 Filed: 03/17/22 Page 55 of 70 PagelD #:2531
Case: 1:19-cv-00743 Document #: 144-2 Filed: 03/14/22 Page 38 of 53 PagelD #:2452

62, Any and all documents setting forth criteria for the referral of claims to the
SIU/MCIU Fire F, the name of which is identified on the document produced by
State Farm bearing Bates No. SECONNECT0000793PROD.

RESPONSE: In addition to its Objections to Definitions and Instructions, State Farm
objects to Request No. 62 on the grounds that it is overly broad in both time and scope, unduly
burdensome, seeks documents that are not relevant to the claim or defense of any party, and is not
proportional to the needs of the case. State Farm further objects that this Request seeks the

production of confidential business information and/or trade secrets of State Farm.

63. Any and all documents relating to the origin, establishment, purpose and intention
of the SIU/MCIU ESIU Fire CA Team, the name of which is identified on the
document produced by State Farm bearing Bates No.
SFCONNECT0000794PROD.

RESPONSE: In addition to its Objections to Definitions and Instructions, State Farm
objects to Request No. 63 on the grounds that it is overly broad in both time and scope, unduly
burdensome, seeks documents that are not relevant to the claim or defense of any party, and is not
proportional to the needs of the case. State Farm further objects that this Request seeks the

production of confidential business information and/or trade secrets of State Farm.

64. Any and all documents setting forth criteria for the referral of claims to the
SIU/MCIU ESIU Fire CA Team, the name of which is identified on the document
produced by State Farm bearing Bates No. SECONNECT0000794PROD.

RESPONSE: In addition to its Objections to Definitions and Instructions, State Farm
objects to Request No. 64 on the grounds that it is overly broad in both time and scope, unduly
burdensome, seeks documents that are not relevant to the claim or defense of any party, and is not
proportional to the needs of the case. State Farm further objects that this Request seeks the

production of confidential business information and/or trade secrets of State Farm.

37
Case: 1:19-cv-00743 Document #: 146-2 Filed: 03/17/22 Page 56 of 70 PagelD #:2532
Case: 1:19-cv-00743 Document #: 144-2 Filed: 03/14/22 Page 39 of 53 PagelD #:2453

65. Any and all reports of SIU reviews of National Insurance Crime Bureau (“NICB”)
indicators of potential fraud for State Farm Claim Nos. 13-0790-6C6, 13-1390-
8K9, 13-1390-8F4, 13-1390-8N9, 13-1390-8S1 and 13-0670-8L5.

RESPONSE: In addition to its Objections to Definitions and Instructions, State Farm
objects to Request No. 65 on the ground that “reports” is vague and ambiguous. Subject to and
without waiving these objections, State Farm directs Plaintiffs to the claim files produced as
SFCONNECT000001PROD-SFCONNECTPROD001815PROD, which identify fraud indicators
associated with those claims. State Farm will also produce any additional, responsive, non-
privileged documents in its possession, custody or contro! that can be located through a reasonable

search.

66, Any and all documents related to the File Change entry in the Claim File Notes
for Claim No. 13-0670-8L5 dated October 24, 2017 at 4:47 PM EDT for Roger
Krupp set forth on the document produced by State Farm bearing Bates No.
SFCONNECT000048PROD,

RESPONSE: Subject to and without waiving its Objections to Definitions and
Instructions, State Farm directs Plaintiffs to the claim file for Claim No. 13-0670-8L5, produced
as SFCONNECT000001 PROD-SFCONNECTPROD000725PROD. State Farm will also produce
any additional, responsive, nonprivileged documents in its possession, custody or control that can

be located through a reasonable search.

67. Any and all documents, including but not limited to the MCAR Survey and QCF,
related to the entry in the Claim File Notes for Claim No. 13-0670-8L5 dated
October 25, 2017 at 1:04 AM EDT for Roger Krupp on the documents produced
by State Farm bearing Bates No. SFCONNECT000039PROD-
SFCONNECT000040PROD and SFCONNECT000082PROD.

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Case: 1:19-cv-00743 Document #: 146-2 Filed: 03/17/22 Page 57 of 70 PagelD #:2533
Case: 1:19-cv-00743 Document #: 144-2 Filed: 03/14/22 Page 40 of 53 PagelD #:2454

RESPONSE: In addition to its Objections to Definitions and Instructions, State Farm
objects to Request No. 67 on the grounds that the reference to “QCF” is vague and ambiguous,
and that the Request seeks documents that are not relevant to the claim or defense of any party and
is not proportional to the needs of the case. Subject to and without waiving these objections, State
Farm directs Plaintiffs to the claim file for Claim No. 13-0670-8L5, produced as
SFCONNECT000001PROD-SFCONNECTPROD000725PROD. State Farm will also produce
any additional, responsive, nonprivileged documents in its possession, custody or control that can

be located through a reasonable search.

68. Any and all documents related to the SIU Status entry in the Claim File Notes for

Claim No. 13-0670-8L5 dated October 24, 2017 at 4:46 PM EDT for Roger Krupp

on the document produced by State Farm bearing Bates No.
SFCONNECT000040PROD.

RESPONSE: Subject to and without waiving its Objections to Definitions and

Instructions, State Farm directs Plaintiffs to the claim file for Claim No. 13-0670-8L5, produced

as SFCONNECT000001PROD-SFCONNECTPROD000725PROD. State Farm will also produce

any additional, responsive, nonprivileged documents in its possession, custody or control that can

be located through a reasonable search.

69. Any and all documents related to the entry in the Claim File Notes for Claim No.
13-0670-8L5 dated April 27, 2017 at 4:01 AM EDT for Thomas Wegner regarding
“File Change: Manage SIU Claim Information Added” on the documents produced
by State Farm bearing Bates No. SFCONNECT000083PROD-
SFCONNECT000084PROD.

RESPONSE: Subject to and without waiving its Objections to Definitions and
Instructions, State Farm directs Plaintiffs to the claim file for Claim No. 13-0670-8L5, produced

as SFCONNECT000001PROD-SFCONNECTPROD000725PROD. State Farm will also produce

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Case: 1:19-cv-00743 Document #: 146-2 Filed: 03/17/22 Page 58 of 70 PagelD #:2534
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any additional, responsive, nonprivileged documents in its possession, custody or control that can

be located through a reasonable search.

70. Any and all documents related to the entry in the Claim File Notes for Claim No.

13-0790-6C6 dated April 24, 2017 at 4:50 PM EDT for Roger Krupp regarding

“File Change: Manage SIU Claim Information Modified” on the document

produced by State Farm bearing Bates No. SFCONNECT0000783PROD-
SFCONNECT0000784PROD.

RESPONSE: Subject to and without waiving its Objections to Definitions and

Instructions, State Farm directs Plaintiffs to the claim file for Claim No. 13-0790-6C6, produced

as SFCONNECT000726PROD-SFCONNECTPROD001003PROD. State Farm will also produce

any additional, responsive, nonprivileged documents in its possession, custody or control that can

be located through a reasonable search.

71. Any and all documents related to the entry in the Claim File Notes for Claim No.
13-0670-8L5 dated April 27, 2017 at 3:48 PM EDT for Chad Pratley regarding
“File Change: Appointment Event” and on the document produced by State Farm

bearing Bates No. SFCONNECT000084PROD.
RESPONSE: Subject to and without waiving its Objections to Definitions and
Instructions, State Farm directs Plaintiffs to the claim file for Claim No. 13-0670-8L5, produced
as SFCONNECT000001PROD-SFCONNECTPROD000725PROD. State Farm will also produce

any additional, responsive, nonprivileged documents in its possession, custody or control that can

be located through a reasonable search.

72, Any and all documents related to the entry in the Claim File Notes for Claim No.
13-1390-8K9 dated October 24, 2017 at 6:15 PM CDT for Roger Krupp regarding
“File Change: Manage SIU Claim Information Modified” on the document
produced by State Farm bearing Bates No. SFCONNECT00001238PROD.

40
Case: 1:19-cv-00743 Document #: 146-2 Filed: 03/17/22 Page 59 of 70 PagelD #:2535
Case: 1:19-cv-00743 Document #: 144-2 Filed: 03/14/22 Page 42 of 53 PagelD #:2456

RESPONSE: Subject to and without waiving its Objections to Definitions and
Instructions, State Farm directs Plaintiffs to the claim file for Claim No. 13-1390-8K9, produced
as SFCONNECT001 189PROD-SFCONNECTPROD001377PROD. State Farm will also produce
any additional, responsive, nonprivileged documents in its possession, custody or contro! that can

be located through a reasonable search.

73. Any and all documents related to the entry in the Claim File Notes for Claim No.
13-0670-8L5 dated March 2, 2017 at 9:10 AM CST for Roger Krupp regarding
“File Change: Appointment Event” on the document produced by State Farm
bearing Bates No. SEFCONNECT000089PROD.

RESPONSE: Subject to and without waiving its Objections to Definitions and
Instructions, State Farm directs Plaintiffs to the claim file for Claim No. 13-0670-8L5, produced
as SFCONNECT000001 PROD-SFCONNECTPROD000725PROD. State Farm will also produce
any additional, responsive, nonprivileged documents in its possession, custody or control that can

be located through a reasonable search.

74, Any and all documents setting forth guidelines, procedures and requirements
relating to an “assignment review percentage” for any and all State Farm employees
as that term is utilized on the document produced by State Farm bearing Bates No.
SFCONNECT0000772PROD,

RESPONSE: In addition to its Objections to Definitions and Instructions, State Farm
objects to Request No. 74 on the grounds that it is overly broad in both time and scope, unduly
burdensome, seeks documents that are not relevant to the claim or defense of any party, and is not
proportional to the needs of the case. State Farm further objects that this Request seeks the

production of confidential business information and/or trade secrets of State Farm.

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75. Any and all documents setting forth performance goals, targets, quotas and
requirements for any and all State Farm employees handling claims on home and
property insurance issued by State Farm, including but not limited to Homeowners
Insurance, Condo Unit owners Insurance, Renters Insurance and Rental Property
Insurance, and on Small Business Insurance and Business Owners Policies issued
by State Farm.

RESPONSE: In addition to its Objections to Definitions and Instructions, State Farm
objects to Request No. 75 on the grounds that it is overly broad in both time and scope, unduly
burdensome, seeks documents that are not relevant to the claim or defense of any party, and is not
proportional to the needs of the case. State Farm further objects to this Request to the extent it
seeks discovery concerning claims of putative members of the proposed, uncertified class, on the
ground that such discovery is premature, objects that the terms “goals, targets, quotas and
requirements” as used in this Request are vague and ambiguous, and objects that the Request
appears to seek the production of confidential business information and/or trade secrets of State

Farm,

76. Any and all documents relating to employee compensation in relation to
performance goals, targets, quotas and requirements for any and all State Farm
employees handling claims on home and property insurance issued by State Farm,
including but not limited to Homeowners Insurance, Condo Unit owners Insurance,
Renters Insurance and Rental Property Insurance, and on Small Business Insurance
and Business Owners Policies issued by State Farm.

RESPONSE; In addition to its Objections to Definitions and Instructions, State Farm
objects to Request No. 76 on the grounds that it is overly broad in both time and scope, seeks
documents that are not relevant to the claim or defense of any party, and is not proportional to the
needs of the case. State Farm further objects to this Request to the extent it seeks discovery
concerning claims of putative members of the proposed, uncertified class, on the ground that such

discovery is premature, objects that the terms “goals, targets, quotas and requirements” as used in

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this Request are vague and ambiguous, and objects that the Request appears to seek the production

of confidential business information and/or trade secrets of State Farm.

77, Any and all documents setting forth performance goals, targets, quotas and
requirements for any and all State Farm employees who are attorneys providing
opinions regarding claims on home and property insurance issued by State Farm,
including but not limited to Homeowners Insurance, Condo Unit owners Insurance,
Renters Insurance and Rental Property Insurance, and on Small Business Insurance
and Business Owners Policies issued by State Farm.

RESPONSE: In addition to its Objections to Definitions and Instructions, State Farm
objects to Request No. 77 on the grounds that it is overly broad in both time and scope, seeks
documents that are not relevant to the claim or defense of any party, and is not proportional to the
needs of the case, State Farm further objects to this Request to the extent it seeks discovery
concerning claims of putative members of the proposed, uncertified class, on the ground that such
discovery is premature, objects that the terms “goals, targets, quotas and requirements” as used in
this Request are vague and ambiguous, and objects that the Request appears to seek the production
of confidential business information and/or trade secrets of State Farm. State Farm further objects
to this Request to the extent it seeks documents that are protected from disclosure by the attorney-

client privilege and/or the attorney work product doctrine.

78. Any and all documents relating to employee compensation in relation to
performance goals, targets, quotas and requirements for any and all State Farm
employees who are attorneys providing opinions regarding claims on home and
property insurance issued by State Farm, including but not limited to Homeowners
Insurance, Condo Unit owners Insurance, Renters Insurance and Rental Property
Insurance, and on Smal! Business Insurance and Business Owners Policies issued
by State Farm.

RESPONSE: In addition to its Objections to Definitions and Instructions, State Farm

objects to Request No. 78 on the grounds that it is overly broad in both time and scope, seeks

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documents that are not relevant to the claim or defense of any party, and is not proportional to the
needs of the case. State Farm further objects to this Request to the extent it seeks discovery
concerning claims of putative members of the proposed, uncertified class, on the ground that such
discovery is premature, objects that the terms “goals, targets, quotas and requirements” as used in
this Request are vague and ambiguous, and objects that the Request appears to seek the production
of confidential business information and/or trade secrets of State Farm. State Farm further objects
to this Request to the extent it seeks documents that are protected from disclosure by the attorney-

client privilege and/or the attorney work product doctrine.

79. Any and all documents setting forth performance goals, targets and requirements
for any and all attorneys engaged by State Farm providing opinions regarding
claims on home and property insurance issued by State Farm, including but not
limited to Homeowners Insurance, Condo Unit owners Insurance, Renters
Insurance and Rental Property Insurance, and on Small Business Insurance and
Business Owners Policies issued by State Farm.

RESPONSE: In addition to its Objections to Definitions and Instructions, State Farm
objects to Request No. 79 on the grounds that it is overly broad in both time and scope, seeks
documents that are not relevant to the claim or defense of any party, and is not proportional to the
needs of the case. State Farm further objects to this Request to the extent it seeks discovery
concerning claims of putative members of the proposed, uncertified class, on the ground that such
discovery is premature, objects that the terms “goals, targets, quotas and requirements” as used in
this Request are vague and ambiguous, and objects that the Request appears to seek the production
of confidential business information and/or trade secrets of State Farm. State Farm further objects
to this Request to the extent it seeks documents that are protected from disclosure by the attorney-

client privilege and/or the attorney work product doctrine.

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80. Any and all documents relating to employee compensation in relation to
performance goals, targets and requirements for any and all attorneys engaged by
State Farm providing opinions regarding claims on home and property insurance
issued by State Farm, including but not limited to Homeowners Insurance, Condo
Unit owners Insurance, Renters Insurance and Rental Property Insurance, and on
Small Business Insurance and Business Owners Policies issued by State Farm.

RESPONSE: In addition to its Objections to Definitions and Instructions, State Farm
objects to Request No. 80 on the grounds that it is overly broad in both time and scope, seeks
documents that are not relevant to the claim or defense of any party, and is not proportional to the
needs of the case. State Farm further objects to this Request to the extent it seeks discovery
concerning claims of putative members of the proposed, uncertified class, on the ground that such
discovery is premature, and objects that the terms “goals, targets, quotas and requirements” as used
in this Request are vague and ambiguous, as is the term “employee compensation” for “attorneys
engaged by State Farm providing opinions.” State Farm further objects to this Request on the
grounds that it appears to seek the production of confidential business information and/or trade
secrets of State Farm, and that it seeks documents that are protected from disclosure by the

attorney-client privilege and/or the attorney work product doctrine.

81. Any and all documents, including but not limited to bills and invoices, received
from People’s Gas regarding furnishing, provision and maintenance of heat at the
Premises.

RESPONSE: Subject to and without waiving its Objections to Definitions and
Instructions, State Farm directs Plaintiffs to the claim files produced as

SFCONNECT000001PROD-SFCONNECTPROD001815PROD.

82. Any and all documents, including but not limited to correspondence, notes, bills
and invoices, relating to the furnishing, provision and maintenance of heat at the
Premises.

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RESPONSE: Subject to and without waiving its Objections to Definitions and
Instructions, State Farm directs Plaintiffs to the claim files produced as

SFCONNECT000001 PROD-SFCONNECTPROD001815PROD.

83. Any and all documents, including but not limited to correspondence, notes, bills
and invoices, relating to the furnishing, provision and maintenance of heat at the
Premises in the name of, or for the account of, any tenant or former tenant at the
Premises, including but not limited to Martina Brown, Dominique Jones, Lynette
Crawley Michael Muench and Jesse Torres.

RESPONSE: Subject to and without waiving its Objections to Definitions and
Instructions, State Farm directs Plaintiffs to the claim files produced as

SFCONNECT000001PROD-SFCONNECTPROD001815PROD.

84. Any and all documents regarding the purported insurance claims set forth on the
documents produced by State Farm bearing Bates No.
SFCONNECT000016PROD-SFCONNECT000020PROD and
SFCONNECT00001387PROD-SFCONNECT00001393PROD including but not
limited to those involving participants Waris Cowlas, Lori Blake, Ki Khan, Gail
Merrifield, Tracy Ingram, Ronald Casselberry, Marcellis Blackwell, Reemuna
Livery, Inc., Ireneusz Szopa, Martina Brown, Christian Debonnett, Michelle
Debonnett, Bobby Ambrose, Bernard Williams, James Troman, Darryl Shears and
Jose Ortiz.

RESPONSE: In addition to its Objections to Definitions and Instructions, State Farm
objects to Request No. 84 on the grounds that it is overly broad, unduly burdensome, seeks
documents that are not relevant to the claim or defense of any party, and is not proportional to the
needs of the case. State Farm further objects to this Request on the ground that it seeks documents
that would invade the privacy of individuals involved in other claims who are not parties to this

action,

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85. Any and all documents upon which State Farm relied in matching or attributing
the purported insurance claims set forth on the documents produced by State
Farm bearing Bates No. SFCONNECT000016PROD-
SFCONNECT000020PROD and SFCONNECT00001387PROD-
SFCONNECT00001393PROD, including but not limited to those involving
participants Waris Cowlas, Lori Blake, Ki Khan, Gail Merrifield, Tracy Ingram,
Ronald Casselberry, Marcellis Blackwell, Reemuna Livery, Inc., Ireneusz Szopa,
Martina Brown, Christian Debonnett, Michelle Debonnett, Bobby Ambrose,
Bernard Williams, James Troman, Darryl Shears and Jose Ortiz to the Plaintiffs
and each of them.

RESPONSE: In addition to its Objections to Definitions and Instructions, State Farm
objects to Request No. 85 on the grounds that it is overly broad, unduly burdensome, seeks
documents that are not relevant to the claim or defense of any party, and is not proportional to the
needs of the case. State Farm further objects to this Request on the ground that it seeks documents
that would invade the privacy of individuals involved in other claims who are not parties to this

action.

86. Any and all documents setting forth criteria upon which the Frequency Search
Automatic Match Reports on the documents produced by State Farm bearing Bates
No. SFCONNECT000016PROD- SFCONNECT000020PROD and
SFCONNECT00001387PROD- SFCONNECT00001393PROD were generated.

RESPONSE: In addition to its Objections to Definitions and Instructions, State Farm
objects to Request No. 86 on the grounds that it is overly broad in both time and scope, unduly
burdensome, seeks documents that are not relevant to the claim or defense of any party, and is not

proportional to the needs of the case.

87, Any and all documents setting forth criteria upon which any and all Frequency
Search Automatic Match Reports are generated in connection with claims on home
and property insurance issued by State Farm, including but not limited to
Homeowners Insurance, Condo Unit owners Insurance, Renters Insurance and
Rental Property Insurance, and on Small Business Insurance and Business Owners
Policies issued by State Farm.

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RESPONSE: In addition to its Objections to Definitions and Instructions, State Farm
objects to Request No. 87 on the grounds that it is overly broad in both time and scope, unduly
burdensome, seeks documents that are not relevant to the claim or defense of any party, and is not
proportional to the needs of the case. State Farm further objects to this Request to the extent it
seeks discovery concerning claims of putative members of the proposed, uncertified class, on the

ground that such discovery is premature.

88. Any and all databases or aggregations of data used in connection with algorithmic
procedures, commonly known as actuarial risk assessment instruments or
predictive analytic tools, that are utilized in connection with the marketing and
issuance of home and property insurance issued by State Farm, including but not
limited to Homeowners Insurance, Condo Unit owners Insurance, Renters
Insurance and Rental Property Insurance, and on Small Business Insurance and
Business Owners Policies issued by State Farm.

RESPONSE: In addition to its Objections to Definitions and Instructions, State Farm
objects to Request No. 88 on the grounds that it is overly broad in both time and scope, unduly
burdensome, seeks documents that are not relevant to the claim or defense of any party, and is not
proportional to the needs of the case. State Farm further objects to this Request to the extent it
seeks discovery concerning claims of putative members of the proposed, uncertified class, on the
ground that such discovery is premature, and objects that this Request seeks the production of

confidential business information and/or trade secrets of State Farm.

89. Any and all documents setting forth ZIP Code as a criteria for determinations of the
payment or denial of claims upon home and property insurance issued by State
Farm, including but not limited to Homeowners Insurance, Condo Unit owners
Insurance, Renters Insurance and Rental Property Insurance, and upon Small
Business Insurance and Business Owners Policies issued by State Farm.

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RESPONSE: In addition to its Objections to Definitions and Instructions, State Farm
objects to Request No. 89 on the grounds that it is overly broad in both time and scope, seeks
documents that are not relevant to the claim or defense of any party, and is not proportional to the
needs of the case. State Farm further objects to this Request to the extent it seeks discovery
concerning claims of putative members of the proposed, uncertified class, on the ground that such
discovery is premature. Subject to and without waiving these objections, State Farm responds that

it has no documents responsive to this Request.

90. Any and all documents setting forth ZIP Code as a criteria for the marketing and
issuance of home and property insurance issued by State Farm, including but not
limited to Homeowners Insurance, Condo Unit owners Insurance, Renters Insurance
and Rental Property Insurance, and Small Business Insurance and Business Ownets
Policies issued by State Farm.

RESPONSE: In addition to its Objections to Definitions and Instructions, State Farm
objects to Request No. 90 on the grounds that it is overly broad in both time and scope, seeks
documents that are not relevant to the claim or defense of any party, and is not proportional to the
needs of the case. State Farm further objects to this Request to the extent it seeks discovery

concerning claims of putative members of the proposed, uncertified class, on the ground that such

discovery is premature.

91. Any and ail documents setting forth race as a criteria for determinations of the
payment or denial of claims upon home and property insurance issued by State
Farm, including but not limited to Homeowners Insurance, Condo Unit owners
Insurance, Renters Insurance and Rental Property Insurance, and upon Small
Business Insurance and Business Owners Policies issued by State Farm.

RESPONSE: In addition to its Objections to Definitions and Instructions, State Farm
objects to Request No. 91 on the ground that it is overly broad in both time and scope. State Farm

further objects to this Request to the extent it seeks discovery concerning claims of putative

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members of the proposed, uncertified class, on the ground that such discovery is premature.
Subject to and without waiving these objections, State Farm responds that it has no documents

responsive to this Request.

92. Any and all documents setting forth race as a criteria for the marketing and issuance
of home and property insurance issued by State Farm, including but not limited to
Homeowners Insurance, Condo Unit owners Insurance, Renters Insurance and
Rental Property Insurance, and Small Business Insurance and Business Owners
Policies issued by State Farm.

RESPONSE: In addition to its Objections to Definitions and Instructions, State Farm
objects to Request No. 92 on the grounds that it is overly broad in both time and scope and seeks
documents that are not relevant to the claim or defense of any party, State Farm further objects to
this Request to the extent it seeks discovery concerning claims of putative members of the
proposed, uncertified class, on the ground that such discovery is premature. Subject to and without

waiving these objections, State Farm responds that it has no documents responsive to this Request.

93. Any and all documents setting forth race as a criteria for sending claims upon home
and property insurance issued by State Farm, including but not limited to
Homeowners Insurance, Condo Unit owners Insurance, Renters Insurance and
Rental Property Insurance, and Small Business Insurance and Business Owners
Policies issued by State Farm, to the SIU.

RESPONSE: In addition to its Objections to Definitions and Instructions, State Farm
objects to Request No. 93 on the ground that it is overly broad in both time and scope. State Farm
further objects to this Request to the extent it seeks discovery concerning claims of putative
members of the proposed, uncertified class, on the ground that such discovery is premature.
Subject to and without waiving these objections, State Farm responds that it has no documents

responsive to this Request.

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94. Any and all documents setting forth ZIP Code as a criteria for sending claims upon
home and property insurance issued by State Farm, including but not limited to
Homeowners Insurance, Condo Unit owners Insurance, Renters Insurance and Rental
Property Insurance, and upon Small Business Insurance and Business Owners Policies
issued by State Farm, to the SIU.

RESPONSE: In addition to its Objections to Definitions and Instructions, State Farm
objects to Request No. 94 on the grounds that it is overly broad in both time and scope, seeks
documents that are not relevant to the claim or defense of any party, and is not proportional to the
needs of the case. State Farm further objects to this Request to the extent it seeks discovery
concerning claims of putative members of the proposed, uncertified class, on the ground that such
discovery is premature, Subject to and without waiving these objections, State Farm responds that

it has no documents responsive to this Request.

Dated: August 19, 2020

/s/ Sondra A. Hemeryck
Sondra A. Hemeryck
Mariangela M. Seale

Sarah E. Finch

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CERTIFICATE OF SERVICE
I, undersigned counsel, certify that on August 19, 2020, I served a copy of the foregoing

document by e-mail, to the following:

Kenneth Anspach

Anspach Law Office

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/si Sondra A. Hemeryek

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